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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                           )
In re:                                                     )     Chapter 11
                                                           )
TRONOX INCORPORATED, et al.,1                              )     Case No. 09-10156 (ALG)
                                                           )
                          Debtors.                         )     Jointly Administered
                                                           )

               ORDER (A) SETTING BAR DATES FOR FILING PROOFS
             OF CLAIM, (B) APPROVING THE FORM AND MANNER FOR
         FILING PROOFS OF CLAIM AND (C) APPROVING NOTICE THEREOF

         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”) (a) establishing the

deadline for filing claims in these chapter 11 cases (the “Chapter 11 Cases”), (b) approving the

form and manner for filing such claims and (c) approving notice thereof; and it appearing that the

relief requested is in the best interests of the Debtors’ estates, their creditors and other parties in

interest; and the Court having jurisdiction to consider the Motion and the relief requested therein

pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of the Motion and the relief requested

therein being a core proceeding pursuant to 28 U.S.C. § 157(b); venue being proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409; and notice of the Motion having been adequate

and appropriate under the circumstances; and after due deliberation and sufficient cause

appearing therefor, it is hereby ORDERED

         1.      The Motion is granted.

1   The Debtors in these cases include: Tronox Luxembourg S.ar.L; Tronox Incorporated; Cimarron Corporation;
    Southwestern Refining Company, Inc.; Transworld Drilling Company; Triangle Refineries, Inc.; Triple S, Inc.;
    Triple S Environmental Management Corporation; Triple S Minerals Resources Corporation; Triple S Refining
    Corporation; Tronox LLC; Tronox Finance Corp.; Tronox Holdings, Inc.; Tronox Pigments (Savannah) Inc.;
    and Tronox Worldwide LLC.
2   Capitalized terms used, but not otherwise defined, herein shall have the meanings set forth in the Motion.
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          2.   Pursuant to Bankruptcy Rule 3003(c)(3), except as provided in paragraph 7

hereof, all persons and entities (including individuals, partnerships, corporations, joint ventures,

trusts, and governmental units), holding or wishing to assert a claim, as that term is defined in

section 101(5) of the Bankruptcy Code (each, a “Claim”), against any of the Debtors that arose

on or prior to the filing of the Debtors’ Chapter 11 Cases on January 12, 2009, are required to

file proof of such Claim (a “Proof of Claim”) pursuant to the procedures and on or before the

deadlines (each a “Bar Date” and, collectively, the “Bar Dates”) established by this Order.

          3.   Except as expressly provided herein, each and every Proof of Claim for a Claim

that arose before the Petition Date against any of the Debtors, including a Claim pursuant to

section 503(b)(9) of the Bankruptcy Code, in these Chapter 11 Cases shall be actually received

on or before August 12, 2009 at 8:00 5:00 p.m. (Eastern Time) (Pacific Time) (the “Bar

Date”).

          4.   Pursuant to Bankruptcy Rule 3003(c)(2), all creditors that fail to comply with this

Order by timely filing a Proof of Claim in appropriate form shall not be treated as a creditor with

respect to such Claim for purposes of voting on a chapter 11 plan and distribution thereunder on

account of such Claim.

          5.   The standard form of Proof of Claim (the “Proof of Claim Form”) attached to the

Motion as Exhibit B is hereby approved.

          6.   The following rules shall govern the completion and filing of each Proof of

Claim:

               a.      Each Proof of Claim must conform substantially with the
                       Proof of Claim Form or Official Form No. 10;

               b.      All Proofs of Claim must be actually received no later than
                       8:00 5:00 p.m. (Eastern Time) (Pacific Time) on August
                       12, 2009 at the following address:


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                              Tronox Claims Processing Center
                              c/o Kurtzman Carson Consultants LLC
                              2335 Alaska Ave.
                              El Segundo, CA 90245

                      Proof of Claim must be delivered to the above address by
                      first class U.S. mail (postage prepaid), in person, by courier
                      service, or by overnight delivery;

                      The Debtors’ notice and claims agents, Kurtzman
                      Carson Consulting LLC (“KCC”), will not accept a
                      Proof of Claim sent by facsimile or e-mail;

               c.     Each Proof of Claim will be deemed filed only when
                      received;

               d.     Each Proof of Claim must: (i) be signed by the creditor or if
                      the creditor is not an individual, by an authorized agent of
                      the creditor; (ii) be written in English; (iii) include a Claim
                      amount denominated in United States dollars; (iv) state a
                      Claim against only one Debtor; and (v) clearly indicate the
                      Debtor against which the creditor is asserting a Claim;

               e.     Each Proof of Claim must include supporting
                      documentation (or, if such documentation is voluminous, a
                      summary of such documentation) or an explanation as to
                      why such documentation is not available; provided,
                      however, that a Proof of Claim may be filed without
                      supporting documentation upon the prior written consent of
                      the Debtors and any other party in interest; provided,
                      further, that any creditor that received such written consent
                      shall be required to transmit such writings to the Debtors or
                      other party in interest upon request no later than
                      ten (10) days from the date of such request; and

               f.     A creditor who wishes to receive acknowledgment of
                      receipt of its Proof of Claim Form may submit a copy of
                      the Proof of Claim Form and a self-addressed, stamped
                      envelope to KCC along with the original Proof of Claim
                      Form.

       7.      Parties are not required to submit Proofs of Claim or interest in accordance with

the procedures established herein for the following categories of Claims:

               a.     Any Claim for which a Proof of Claim has already been
                      filed against the Debtors with the Clerk of the Court (the

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                   “Clerk”) in a form substantially similar to Official
                   Bankruptcy Form No. 10;

             b.    Any Claim that is listed on the Debtors’ Schedules;
                   provided, however, that: (i) the Claim is not scheduled as
                   “disputed,” “contingent” or “unliquidated”; (ii) the
                   Claimant does not disagree with the amount, nature and
                   priority of the claim as set forth in the Schedules; and
                   (iii) the Claimant does not dispute that the Claim is an
                   obligation of the specific Debtor(s) as set forth in the
                   Schedules;

             c.    Any Claim that has been allowed previously pursuant to an
                   order of this Court;

             d.    Any Claim against a Debtor that has been paid in full by
                   any of the Debtors or any other party;

             e.    Any Claim that is subject to specific deadlines, aside from
                   those established pursuant to this Order, fixed by this
                   Court;

             f.    Any Claim held by a Debtor in these Chapter 11 Cases;

             g.    Any Claim held by a current employee of the Debtors for
                   Wages and Benefits (as defined in the order of this Court
                   entered on February 6, 2009 [Dkt. No. 143] authorizing the
                   Debtors to honor Claims for Employee Wages and
                   Benefits);

             h.    Any Claim that is limited exclusively to the repayment of
                   principal, interest and/or other applicable fees and charges
                   (“Debt Claim”) owed under any bond or note issued by the
                   Debtors pursuant to an indenture (a “Debt Instrument”);
                   provided, however, that: (i) an indenture trustee under a
                   Debt Instrument (the “Indenture Trustee”) must file one
                   Proof of Claim, on or before the Bar Date, with respect to
                   all of the amounts owed under each of the Debt Instruments
                   and (ii) any holder of a Debt Claim wishing to assert a
                   Claim, other than a Debt Claim, arising out of or relating to
                   a Debt Instrument must file a Proof of Claim on or before
                   the Bar Date, unless another exception in this paragraph
                   applies;

             i.    Any Claim or interest that is based on an interest in an
                   equity security of the Debtors; provided, however, that any
                   Claimant person who wishes to assert a Claim against any
                   of the Debtors based on, without limitation, Claims for
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                          damages or rescission based on the purchase or sale of an
                          equity security, must file a Proof of Claim on or before the
                          Bar Date;3 and

                 j.       Any Claim allowable under sections 503(b) and 507(a)(1)
                          of the Bankruptcy Code as an administrative expense of the
                          Debtors’ Chapter 11 Cases, with the exception of any
                          Claim allowable under section 503(b)(9) of the Bankruptcy
                          Code, which is subject to Bar Date as provided above.

        8.       In the event the Debtors amend or supplement their schedules of liabilities

(collectively, the “Schedules”), the Debtors shall give notice of any amendment or supplement to

the holders of any Claim affected thereby, and such holders shall be afforded thirty (30) days

from the date on which such notice is given or until the Bar Date, if the Bar Date is later, to file a

Proof of Claim with respect to their Claim or be forever barred from doing so.

        9.       The holder of any Claim that arises from the Debtors’ rejection of any executory

contract or unexpired lease after the date of entry of this Order shall file a Proof of Claim based

on such rejection by the later of (a) the Bar Date, (b) a date provided in an order authorizing the

Debtors to reject (or notice of rejection of) an executory contract or unexpired lease or (c) if no

date is provided, thirty (30) days after the date of any order authorizing such rejection or notice

of such rejection is entered.

        10.      The Debtors, with the assistance of KCC, are hereby authorized and directed to

serve the following materials by first class U.S. mail, postage prepaid, on all known creditor

holding actual or potential Claims no later than five (5) business days after the date of entry of

this Order: (a) written notice of the Bar Date in substantially the form annexed to the Motion as




3   The Debtors reserve all rights with respect to any such Claims including, inter alia, to assert that such Claims
    are subject to subordination pursuant to section 510(b) of the Bankruptcy Code




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Exhibit C, (the “Bar Date Notice”); and (b) the Proof of Claim Form (collectively, the “Bar Date

Package”).

       11.     The Bar Date Notice, substantially in the form attached to the Motion as

Exhibit C, is hereby approved.

       12.     KCC is further authorized and directed to mail the Bar Date Package no later than

five (5) business days after the date of entry of this Order to the following parties:

               a.      The U.S. Trustee;
               b.      Counsel to the agent for the Debtors’ prepetition and
                       postpetition secured lenders;
               c.      Counsel to the Creditors’ Committee;
               d.      Counsel to the Equity Committee;
               e.      Anadarko Petroleum Corporation;
               f.      The United States Attorney for the Southern District of
                       New York Attorney General of the United States or such
                       other officer, as appropriate, on behalf of the United States
                       Department of Justice, the Environmental Protection
                       Agency, and the Securities and Exchange Commission;
               g.      All persons or entities that have requested notice of the
                       proceedings in the Chapter 11 Cases;
               h.      All persons or entities that have filed Claims against the
                       Debtors as of the date of entry of this Order;
               i.      All creditors and other known holders of Claims against the
                       Debtors as of the date of entry of this Order, including all
                       persons or entities listed in the Schedules as holding Claims
                       against one or more of the Debtors;
               j.      All parties to executory contracts and unexpired leases of
                       the Debtors listed on the Schedules;
               k.      All parties to litigation with the Debtors or, where
                       individual addresses are not available, through their counsel
                       of record;
               l.      The Attorney General of the United States or the United
                       States Attorney for the Southern District of New York or
                       such other officer, as appropriate, on behalf of the
                       Environmental Protection Agency, and other agencies and
                       instrumentalities of the Unites States of America;


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               m.       State attorneys general for the states in which the Debtors’
                        property is located;
               n.       The Internal Revenue Service;
               o.       The Debtors’ current employees, and the Debtors’ former
                        employees to the extent that contact information for former
                        employees is available in the Debtors’ records; and
               p.       Such additional persons and entities as deemed appropriate
                        by the Debtors.

       13.     The Debtors are further directed, with the assistance of KCC, to include the

following information on every Proof of Claim Form that they supply to a creditor whose Claim

is listed on the Debtors’ Schedules: (a) the amount of such creditor’s Claim against the

applicable Debtor (if such information is reasonably ascertainable), as reflected in the Schedules;

(b) the type of Claim held by such creditor (i.e., non-priority unsecured, priority unsecured or

secured), as reflected in the Schedules; and (c) whether such Claim is contingent, unliquidated or

disputed as reflected in the Schedules. Any person or entity that receives the Proof of Claim

Form is authorized to correct any incorrect information contained in the name and address

portion of such form.

       14.     The Debtors are hereby authorized to provide supplemental mailings of the Bar

Date Package as may be necessary in situations, including, without limitation, (a) notices that are

returned by the post office with forwarding addresses, (b) certain parties acting on behalf of

parties in interest (e.g., banks and brokers with respect to bondholders and equity holders) that

decline to pass along notices to these parties and instead return their names and addresses to the

Debtors for direct mailing and (c) additional potential creditors that become known as the result

of the Bar Date noticing process. Such mailings made at any time up to 30 days in advance of

the Bar Date are hereby deemed timely. Notwithstanding the foregoing, the Debtors shall not be

required to provide any additional notice to any creditor to whom the Debtors mailed the Bar


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Date Package in accordance with the terms of this Order and such notice was returned to the

Debtors as undeliverable without a forwarding address.

       15.    Pursuant to Bankruptcy Rule 2002(f), the Debtors shall give notice of the Bar

Dates by publishing the Bar Date Notice, modified for publication in substantially the form

annexed to the Motion as Exhibit D (the “General Publication Notice”), in The Wall Street

Journal on one occasion on or before July 12 10, 2009. The General Publication Notice shall

include a telephone number that creditors may call to obtain copies of the Proof of Claim Form, a

URL for a website where the creditors may obtain a copy of a Proof of Claim Form, and

information concerning the procedures for filing Proofs of Claim. The Debtors are authorized to

enter into such transactions to cause such publication to be made and to make reasonable

payments required for publication.

       16.    The Debtors shall also give notice of the Bar Dates by publishing certain Site-

Specific Publication Notices, modified for publication in substantially the form attached to the

Motion as Exhibit E, in the publications listed in Exhibit F to the Motion, on one occasion on or

before July 12 10, 2009. The Debtors are authorized to enter into such transactions to cause such

publication to be made and to make reasonable payments required for publication.

       17.    The forms of the General Publication Notice and the Site-Specific Publication

Notices substantially in the form attached to the Motion as Exhibits D and E are hereby

approved.

       18.    The Debtors, with the assistance of KCC, are authorized to mail the Bar Date

Notice to counsels of record for Tort Claimants for whom the Debtors lack personal information.

       19.    The Debtors are authorized to establish without further notice to file with the

Court one or more orders establishing additional Bar Dates, as necessary, (the “Supplemental



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Bar Dates”) with respect to (a) creditors as to whom a remailing of the Bar Date Package is

appropriate, but which cannot be accomplished in time to provide at least thirty (30) days’ notice

of the Bar Date and (b) other creditors that become known to the Debtors after the applicable Bar

Date; provided, however, that the Debtors obtain the written consent of the Creditors’ Committee

before establishing a Supplemental Bar Date;. provided, further, that the Debtors advise the

Court of a Supplemental Bar Date by filing notice of such Supplemental Bar Date which

identifies the Supplemental Bar Date and the creditors subject thereto. In the event the Debtors

establish a Supplemental Bar Date, the Debtors shall mail a Bar Date Package, modified to

include the Supplemental Bar Date, to Claimants who are subject to the Supplemental Bar Date

within thirty (30) days of any Supplemental Bar Date.

         20.   Notice of the Bar Dates as set forth in this Order and in the manner set forth

herein (including the Bar Date Notice, the Bar Date Package, the General Publication Notice, the

Site-Specific Publication Notices, and any supplemental notices that the Debtors may send from

time to time) constitutes adequate and sufficient notice of each of the Bar Dates (including with

respect to any environmental or tort Claims arising from or relating to the Legacy Businesses),

and satisfies the requirements of the Bankruptcy Code, the Federal Rules of Bankruptcy

Procedure, the Local Bankruptcy Rules for the Southern District of New York and General Order

M-279.

         21.   The Debtors are authorized, in their discretion and upon the written consent of the

Creditors’ Committee, to extend a Bar Date by stipulation where the Debtors determine that such

extension is in the best interests of the Debtors and their estates.

         22.   The Debtors are authorized to use the services of KCC to coordinate the

processing of Proofs of Claim.



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       23.     Nothing in this Order shall prejudice the right of the Debtors or any other party in

interest to dispute or assert offsets or defenses to any Claim reflected in the Schedules.

       24.     Entry of this Order is without prejudice to the right of the Debtors to seek a

further order of this Court fixing a date by which holders of Claims or interests not subject to the

Bar Dates contained herein must file such Proofs of Claim or interests or be barred from doing

so.

       25.     The Debtors and KCC are authorized to take all actions necessary or appropriate

to effectuate the relief granted pursuant to this Order in accordance with the Motion.

       26.     The terms and conditions of this Order shall be immediately effective and

enforceable upon entry of the Order.

       27.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

Dated: May 28, 2009
       New York, New York                /s/ Allan L. Gropper
                                                  UNITED STATES BANKRUPTCY JUDGE




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------------------------------------x
                                                                   :
In re:                                                             :   Chapter 11
                                                                   :
TRONOX INCORPORATED, et al.,                                       :   Case No. 09-10156 (ALG)
                                                                   :
                  Debtors.                                         :   (Jointly Administered)
                                                                   :
-------------------------------------------------------------------x
       NOTICE OF AUGUST 12, 2009 DEADLINE FOR FILING PROOFS OF CLAIM

TO: ALL PERSONS AND ENTITIES WHO MAY HAVE CLAIMS AGAINST TRONOX
    INCORPORATED OR ITS AFFILIATED DEBTORS.

PLEASE TAKE NOTICE that, on January 12, 2009, Tronox Incorporated and 14 of its
affiliates filed voluntary petitions for relief under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of New
York (the “Court”). A list of the Debtors may be found on page 3 of this notice.

PLEASE TAKE FURTHER NOTICE that, on May 28, 2009, the Court entered an order
establishing August 12, 2009 at 8:00 5:00 p.m. (Eastern Time) (Pacific Time) as the last date
(the “Bar Date”) for any person or entity (including individuals, corporations, partnerships,
trusts, and governmental units) to file a proof of claim (a “Proof of Claim”). The Bar Date and
the procedures for filing a Proof of Claim apply to all Claims (as defined in section 101(5) of the
Bankruptcy Code) against a Debtor that arose prior to January 12, 2009, except as specifically
excluded below.

YOU ARE RECEIVING THIS NOTICE because you may have a Claim against one or more
of the Debtors. However, the fact that you are receiving this notice does not mean that you do
have a Claim against a Debtor or that the Debtors believe that you have such a Claim.

PURSUANT TO THE BAR DATE ORDER ENTERED BY THE COURT:

     •     THE DEADLINE TO FILE A PROOF OF CLAIM IN THESE CASES IS
           AUGUST 12, 2009 AT 8:00 5:00 P.M. (EASTERN TIME) (PACIFIC TIME).

     •     IF YOU ARE REQUIRED TO FILE A PROOF OF CLAIM BY THE BAR
           DATE BUT FAIL TO DO SO, YOUR CLAIM WILL BE FOREVER
           BARRED. THIS MEANS THAT YOU WILL NOT BE ELIGIBLE TO
           VOTE ON ANY CHAPTER 11 PLAN OR RECEIVE ANY DISTRIBUTION
           FROM THE DEBTORS ON ACCOUNT OF YOUR CLAIM.




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THIS NOTICE CONTAINS INFORMATION REGARDING (1) HOW TO DETERMINE
IF YOU MUST FILE A PROOF OF CLAIM AND, IF YOU ARE REQUIRED TO DO SO,
(2) HOW TO FILE A PROOF OF CLAIM.

I.         WHO MUST FILE A PROOF OF CLAIM

You MUST file a Proof of Claim if you have a Claim1 against any of the Debtors that arose
before January 12, 2009, except for the types of Claims listed below. Acts or omissions that
occurred before January 12, 2009 may give rise to Claims that are subject to the Bar Date, even
if the Claims may not have become known or fixed or liquidated until after January 12, 2009.

       The Debtors were “spun off” from Kerr-McGee Corporation in 2006. As a result of the
spin-off, it is possible that you may have a Claim against the Debtors that is related to Kerr-
McGee Corporation’s operations prior to March 2006.

II.        WHAT TO FILE

           Enclosed with this notice is a form Proof of Claim for you to use.

        For your filed Proof of Claim to be valid, it must (a) be signed by you or your authorized
agent, (b) be written in the English language, (c) be denominated in lawful currency of the
United States, and (d) conform substantially with the enclosed Proof of Claim form or to Official
Form No. 10. In addition, you must attach to your Proof of Claim any documents on which your
Claim is based (if voluminous, you may instead attach a summary). You also must specifically
identify the Debtor against which you assert a Claim by name and case number (listed on page 3
of this notice). You should include all Claims against a particular Debtor in a single Proof of
Claim. If you have Claims against multiple Debtors, you must file a separate Proof of Claim
against each Debtor.

III.       WHEN AND WHERE TO FILE

       Proofs of Claim must be submitted so as to be actually received no later than 8:00 5:00
p.m. (Eastern Time) (Pacific Time) on August 12, 2009 at the following address:

                Tronox Claims Processing Center
                c/o Kurtzman Carson Consultants LLC
                2335 Alaska Avenue
                El Segundo, CA 90245

PLEASE NOTE that your Proof of Claim must be delivered to the above address by first class
U.S. Mail (postage prepaid), in person, by courier service, or by overnight delivery.

1      Under section 101(5) of the Bankruptcy Code, the word “Claim” means: (a) a right to payment, whether or not
       such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,
       undisputed, legal, equitable, secured or unsecured; or (b) a right to an equitable remedy for breach of
       performance if such breach gives rise to a right to payment, whether or not such right to an equitable remedy is
       reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured or unsecured.



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A PROOF OF CLAIM THAT IS SENT BY FACSIMILE OR E-MAIL WILL NOT BE
ACCEPTED.

IV.     A LIST OF THE DEBTORS AND CERTAIN RELATED INFORMATION

                                          CASE                PRIOR NAMES USED IN
                  DEBTOR
                                         NUMBER             THE LAST 6 YEARS (IF ANY)
 Tronox Incorporated                     09-10156     New-Co Chemical, Inc.
                                         09-10155     Kerr-McGee Chemical (Luxembourg) S.ar.l;
 Tronox Luxembourg S.ar.l.
                                                      Kerr-McGee Luxembourg S.ar.l.
 Cimarron Corporation                    09-10157
 Southwestern Refining Company, Inc.     09-10158     Southwestern Oil & Refining Company
 Transworld Drilling Company             09-10159
 Triangle Refineries, Inc.               09-10160
 Triple S Environmental Management       09-10161     Edgebrook Development Corp.; Kerr-McGee
 Corporation                                          Environmental Management Corp.
 Triple S Mineral Resources              09-10162     Kerr-McGee Minerals Resources Corporation
 Corporation
 Triple S Refining Corporation           09-10163     Kerr-McGee Refining Corporation
 Triple S, Inc.                          09-10164
 Tronox Finance Corp.                    09-10165
                                         09-10166     Kemira Holdings Inc.-2000;
 Tronox Holdings, Inc.
                                                      Kerr-McGee Holdings Inc.-2006
 Tronox LLC                              09-10167     Kerr-McGee Chemical LLC
                                         09-10168     Kemira Pigments, Inc.; Kerr-McGee Pigments
 Tronox Pigment (Savannah) Inc.
                                                      (Savannah), Inc.
 Tronox Worldwide LLC                    09-10169     Kerr-McGee Chemical Worldwide LLC

V.      WHO NEED NOT FILE A PROOF OF CLAIM

You DO NOT need to file a Proof of Claim for the following types of Claims or interests:

        A.    Any Claim for which a Proof of Claim already has been filed with the Clerk of
              the Court in a form substantially similar to Official Bankruptcy Form No. 10;
        B.    Any Claim that was listed in the Debtors’ schedules of assets and liabilities and
              statements of financial affairs, which were filed on March 30, 2009 (the
              “Schedules”); however, if (i) the Schedules list your Claim as “contingent,”
              “unliquidated” or “disputed,” (ii) you dispute the Schedules’ description of the
              amount, nature and classification of your Claim, or (iii) you dispute that your
              Claim is an obligation of the specific Debtor that is identified in the Schedules,
              then you MUST submit a Proof of Claim by the Bar Date;

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       C.    Any Claim that has been allowed pursuant to an order of the Court that was
             entered prior to May 28, 2009 at 12:00 p.m. (Eastern Time);
       D.    Any Claim against a Debtor that has been paid in full by any of the Debtors or
             any other party;
       E.    Any Claim that is subject to specific deadlines other than the Bar Date fixed by
             the Court;
       F.    Any Claim held by a Debtor in these Chapter 11 Cases;
       G.    Any Claim held by a current employee of the Debtors for Wages and Benefits
             (as defined in the order of the Court entered on February 6, 2009 [Dkt. No. 143]
             authorizing the Debtors to honor Claims for Employee Wages and Benefits);
       H.    Any Claim that is limited exclusively to the repayment of principal, interest
             and/or other applicable fees and charges (“Debt Claim”) owed under any bond
             or note issued by the Debtors pursuant to an indenture (a “Debt Instrument”);
             however, (i) an indenture trustee under a Debt Instrument (the “Indenture
             Trustee”) MUST file one Proof of Claim by the Bar Date with respect to all of
             the amounts owed under each of the Debt Instruments and (ii), if you are the
             holder of a Debt Claim and wish to assert a Claim, other than a Debt Claim,
             arising out of or relating to a Debt Instrument, you MUST submit a Proof of
             Claim by the Bar Date;
       I.    Any Claim that is based on an interest in an equity security of the Debtors;
             however, that if you wish to assert a Claim against any of the Debtors based on,
             without limitation, Claims for damages or rescission based on the purchase or
             sale of an equity security, you MUST submit a Proof of Claim by the Bar Date.
             The Debtors reserve all rights with respect to any such Claims, including the
             right to assert that such Claims are subject to subordination pursuant to section
             510(b) of the Bankruptcy Code; and
       J.    Any Claim allowable under sections 503(b) and 507(a)(1) of the Bankruptcy
             Code as an administrative expense of the Debtors’ chapter 11 cases, with the
             exception of any Claim allowable under section 503(b)(9) of the Bankruptcy
             Code, which is subject to the Bar Date.

VI.    SPECIAL DEADLINES APPLY TO EXECUTORY CONTRACTS
       AND UNEXPIRED LEASES

        The Bankruptcy Code provides that the Debtors may, at any time before a plan of
reorganization is confirmed by the Court, choose to reject certain executory contracts or
unexpired leases. If your contract or lease is rejected, you may have a Claim resulting from that
rejection. If the Debtors reject your contract or lease after May 28, 2009 the date of this notice,
you must file a Proof of Claim for damages relating to the rejection of your contract or lease by
the later of: (a) the Bar Date; or (b) the date provided in the order authorizing the Debtor to reject
(or notice of rejection of) the contract or lease, or, if no date is provided in the order, thirty (30)
days after the date the you are served notice that an order authorizing the rejection is has been
entered.


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VII.     EXAMINATION OF SCHEDULES

        Your Claim may be listed in the Debtors’ Schedules. To determine if and how you are
listed on the Schedules, please refer to the descriptions set forth on the enclosed Proof of Claim
Forms regarding the nature, amount and status of your Claim(s). If the Debtors believe that you
hold Claims against multiple Debtors, you will receive a Proof of Claim Form for each Debtor.

        If you rely on the Debtors’ Schedules, it is your responsibility to determine that the Claim
is accurately listed in the Schedules; however, you may rely on the information in the enclosed
Proof of Claim Form. If you agree with the nature, amount and status of your Claim and the
Debtor against whom your Claim is scheduled, and if your Claim is not described as “disputed,”
“contingent” or “unliquidated,” then you do not need to file a Proof of Claim.

       The Debtors’ Schedules may be examined and inspected by interested parties during
regular business hours at any of (a) the offices of Kirkland & Ellis LLP, 153 East 53rd Street,
New York, New York 10022 or (b) the Clerk of the Court, United States Bankruptcy Court,
Southern District of New York, One Bowling Green, Room 511, New York, New York 10004-
1408, Monday through Friday, 9:00 a.m.-4:30 p.m. The Debtors’ Schedules and the Bar Date
Order also are available online at www.kccllc.net/tronox. All documents filed in the cases are
accessible at the Court’s internet site: https://ecf.nysb.uscourts.gov through an account obtained
from the PACER website at http://pacer.psc.uscourts.gov.

       If the Debtors later amend their Schedules, the Debtors will notify all holders of the
Claims that are affected by the amendment. Those holders will have an opportunity to file
Proofs of Claim before a new deadline that will be specified in that future notice.

VIII. ACCESS TO PROOF OF CLAIM FORMS AND OTHER QUESTIONS

       Additional information regarding the Bar Date, including Proof of Claim Forms and a
copy of the Bar Date Order, may be obtained by contacting the Debtors’ notice and claims agent,
Kurtzman Carson Consultants LLC, at 2335 Alaska Ave., El Segundo, California 90245,
Telephone: (866) 381-9100. Proof of Claim Forms also may be obtained at Kurzman Carson
Consultants’ website at www.kccllc.net/tronox or at the Court’s website at
www.uscourts.gov/bankform.

       Kurtzman Carson Consultants LLC cannot advise you how to, or whether you should, file
a Proof of Claim. If you have additional questions that are not covered by this notice, you should
consult an attorney to determine your rights and obligations.

Dated:    May 28, 2009                                   BY ORDER OF THE COURT
          New York, New York

KIRKLAND & ELLIS LLP
153 East 53rd Street
New York, New York 10022

Counsel to the Debtors and Debtors in Possession


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                                                           Presentment Date: May 26, 2009 at 12:00 p.m. (ET)
                                                          Objection Deadline: May 26, 2009 at 11:00 a.m. (ET)

Richard M. Cieri
Jonathan S. Henes
Colin M. Adams
KIRKLAND & ELLIS LLP
Citigroup Center
153 East 53rd Street
New York, New York 10022-4611
Telephone:    (212) 446-4800
Facsimile:    (212) 446-4900

Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                          )
In re:                                                    )    Chapter 11
                                                          )
TRONOX INCORPORATED, et al.,1                             )    Case No. 09-10156 (ALG)
                                                          )
                          Debtors.                        )    Jointly Administered
                                                          )

                NOTICE OF PRESENTMENT OF TRONOX’S MOTION
              FOR ENTRY OF AN ORDER (A) SETTING BAR DATES FOR
        FILING PROOFS OF CLAIM, (B) APPROVING THE FORM AND MANNER
       FOR FILING PROOFS OF CLAIM AND (C) APPROVING NOTICE THEREOF

           PLEASE TAKE NOTICE that the above-referenced debtors and debtors in possession

(collectively, “Tronox”) will present Tronox’s Motion for Entry of an Order (A) Setting Bar

Dates for Filing Proofs of Claim, (B) Approving the Form and Manner for Filing Proofs of

Claim and (C) Approving Notice Thereof (the “Motion”) to the Honorable Allan L. Gropper,

United States Bankruptcy Judge, at the United States Bankruptcy Court for the Southern District



1    The Debtors in these cases include: Tronox Luxembourg S.ar.L; Tronox Incorporated; Cimarron Corporation;
     Southwestern Refining Company, Inc.; Transworld Drilling Company; Triangle Refineries, Inc.; Triple S, Inc.;
     Triple S Environmental Management Corporation; Triple S Minerals Resources Corporation; Triple S Refining
     Corporation; Tronox LLC; Tronox Finance Corp.; Tronox Holdings, Inc.; Tronox Pigments (Savannah) Inc.;
     and Tronox Worldwide LLC.




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of New York, Alexander Hamilton Custom House, One Bowling Green, New York, New York

10004-1408, for signature on May 26, 2009 at 12:00 p.m. (ET).

       PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion

must be in writing, shall conform to the Federal Rules of Bankruptcy Procedure and the Local

Bankruptcy Rules of for the Southern District of New York, and shall be filed with the

Bankruptcy Court electronically by registered users of the Bankruptcy Court’s case filing system

(the   User’s   Manual   for   the   Electronic       Case   Filing   System   can   be   found   at

www.nysb.uscourts.gov, the official website for the Bankruptcy Court) and, by all other parties

in interest, on a 3.5 inch disk, in text-searchable Portable Document Format (PDF), Wordperfect

or any other Windows-based word processing format (in either case, with a hard-copy delivered

directly to Chambers), and shall be served upon (a) counsel to Tronox, Kirkland & Ellis LLP,

Citigroup Center, 153 East 53rd Street, New York, New York 10022-4611, Attn: Jonathan S.

Henes, Esq. and Colin M. Adams, Esq.; (b) the Office of the United States Trustee for the

Southern District of New York, 33 Whitehall Street, 21st Floor, New York, New York 10004,

Attn: Susan D. Golden, Esq.; (c) counsel to the agent for Tronox’s prepetition and postpetition

secured lenders, Cravath, Swaine & Moore LLP, 825 Eighth Avenue, New York, NY 10019-

7475, Attn: Robert H. Trust, Esq.; (d) counsel to the official committee of unsecured creditors,

Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New

York 10019-6064, Attn: Brian Hermann, Esq. and Elizabeth McColm, Esq.; (e) counsel to the

official committee of equity security holders, Pillsbury Winthrop Shaw Pittman LLP, 1540

Broadway, New York, New York 10036-4039, Attn: Craig A. Barbarosh, Esq. and Karen Dine,

Esq.; (f) the Office of the United States Attorney for the Southern District of New York and the

Environmental Protection Agency, Attn: Matthew L. Schwartz, Assistant United States Attorney,



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Southern District of New York, 86 Chambers Street, 3rd Floor, New York, New York 10007 and

(g) all those persons and entities that have formally requested notice by filing a written request

for notice pursuant to Bankruptcy Rule 2002 (by electronic notice only) and the Local

Bankruptcy Rules, so as to be actually received no later than May 26, 2009 at 11:00 a.m. (ET)

(the “Objection Deadline”).

       PLEASE TAKE FURTHER NOTICE that if a written objection is timely filed and

received by the parties set forth above, the Court will notify the parties of the date and time of

the hearing to consider the Motion and any Objections thereto. The parties are required to attend

such hearing, and failure to attend in person or by counsel may result in relief being granted or

denied upon default.

       PLEASE TAKE FURTHER NOTICE that if no written objection to the Motion has been

properly filed and served by the Objection Deadline, the Bankruptcy Court may enter an order

granting the Motion as requested by Tronox.

New York, New York                                  /s/ Colin M. Adams
Dated: May 5, 2009                                  Richard M. Cieri
                                                    Jonathan S. Henes
                                                    Colin M. Adams
                                                    KIRKLAND & ELLIS LLP
                                                    Citigroup Center
                                                    153 East 53rd Street
                                                    New York, New York 10022-4611
                                                    Telephone:    (212) 446-4800
                                                    Facsimile:    (212) 446-4900

                                                    Counsel to the Debtors
                                                    and Debtors in Possession




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                                                         Presentment Date: May 26, 2009 at 12:00 p.m. (ET)
                                                        Objection Deadline: May 26, 2009 at 11:00 a.m. (ET)

Richard M. Cieri
Jonathan S. Henes
Colin M. Adams
KIRKLAND & ELLIS LLP
Citigroup Center
153 East 53rd Street
New York, New York 10022-4611
Telephone:    (212) 446-4800
Facsimile:    (212) 446-4900

Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                        )
In re:                                                  )     Chapter 11
                                                        )
TRONOX INCORPORATED, et al.,1                           )     Case No. 09-10156 (ALG)
                                                        )
                         Debtors.                       )     Jointly Administered
                                                        )

                    TRONOX’S MOTION FOR ENTRY OF AN ORDER
                   (A) SETTING BAR DATES FOR FILING PROOFS OF
                CLAIM, (B) APPROVING THE FORM AND MANNER FOR
           FILING PROOFS OF CLAIM AND (C) APPROVING NOTICE THEREOF

           The above-captioned debtors and debtors in possession (collectively, “Tronox” or the

“Debtors”) file this motion (the “Motion”) seeking entry of an order (the “Bar Date Order”),

substantially in the form attached hereto as Exhibit A, (a) establishing the deadline for filing




1    The debtors in these chapter 11 cases include: Tronox Luxembourg S.ar.L; Tronox Incorporated; Cimarron
     Corporation; Southwestern Refining Company, Inc.; Transworld Drilling Company; Triangle Refineries, Inc.;
     Triple S, Inc.; Triple S Environmental Management Corporation; Triple S Minerals Resources Corporation;
     Triple S Refining Corporation; Tronox LLC; Tronox Finance Corp.; Tronox Holdings, Inc.; Tronox Pigments
     (Savannah) Inc.; and Tronox Worldwide LLC.




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claims in these chapter 11 cases, (b) approving the form and manner for filing such claims, and

(c) approving notice thereof.2 In support of this Motion, Tronox respectfully states as follows:

                                                 Jurisdiction

        1.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue in

this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        2.       The statutory bases for the relief requested herein are section 501 of title 11 of the

United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), Rules 2002, 3003 and

9008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 3003-1 of

the Local Bankruptcy Rules for the Southern District of New York (the “Local Bankruptcy

Rules”), and General Order M-279, which was adopted on January 15, 2003 by the Bankruptcy

Court for the Southern District of New York.

                                                 Background

        3.       On January 12, 2009 (the “Petition Date”), each of Tronox and its debtor affiliates

commenced with this Court a voluntary case under chapter 11 of the Bankruptcy Code

(collectively, the “Chapter 11 Cases”). Tronox is operating its businesses and managing its

properties as a debtor in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. On January 21, 2009, the United States Trustee for the Southern District of New York

(the “U.S. Trustee”) appointed an official committee of unsecured creditors (the “Creditors’

Committee”). On March 13, 2009, the U.S. Trustee appointed an official committee of equity
2   Tronox is mindful of the Court’s comments made on the record of the hearing on April 7, 2009 with respect to
    seeking bar date relief in an efficient and cost-effective manner and has, accordingly, filed this Motion on
    presentment. However, as set forth herein, Tronox has proposed additional notice procedures for certain of its
    unknown creditors that are beyond the standard-form procedures typically approved by this Court. For this
    reason, and to give parties in interest sufficient information regarding Tronox’s proposed procedures, Tronox
    believes that it is appropriate and necessary to file this Motion with the Court.




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security holders (the “Equity Committee”). No request for the appointment of a trustee or

examiner has been made in the Chapter 11 Cases.

       4.      Tronox, together with its non-debtor affiliates, is among the world’s leading

producers of titanium dioxide pigment and electrolytic and other specialty chemicals. Tronox’s

products are used in the manufacture of a number of everyday goods and consumer products

such as paints, coatings, plastics, paper, batteries, toothpaste, sunscreen and shampoo. Tronox

employs approximately 1,000 people worldwide and has approximately 1,100 customers located

in more than 100 countries. Pursuant to the terms of Tronox’s debtor in possession financing,

which was approved by this Court on a final basis on February 6, 2009 [Dkt. No. 151], Tronox is

engaged in a marketing process to sell substantially all of its operating assets.

                                Potential Claims Against Tronox

       5.      Tronox anticipates that thousands of parties in interest potentially may file claims

against it in the Chapter 11 Cases. As listed in Tronox’s statement of financial affairs and

schedules of assets and liabilities (the “Schedules”), which were filed on March 30, 2009,

Tronox has assets and liabilities in excess of $1 billion, and thousands of known creditors with

claims arising from Tronox’s operating businesses.

       6.      Moreover, in contrast in other debtors whose claims pools are limited to claims

arising from its operating businesses, Tronox was formed in 2006 as a spinoff from its former

parent company, Kerr-McGee Corporation (“Kerr-McGee”). As set forth in the Declaration of

Gary Barton, Senior Director at Alvarez & Marsal North America LLC, in Support of First Day

Motions (the “First Day Declaration”) (Dkt. No. 3), as a result of the spinoff, Tronox is burdened

by a variety of environmental, tort, pension, workers’ compensation and other post-employment

liabilities arising from discontinued chemical, refining, coal, nuclear, offshore contract drilling,

and other businesses (collectively, the “Legacy Businesses”) that were formerly conducted by

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Kerr-McGee. Thus, Tronox anticipates that thousands of parties in interest potentially may file

claims against Tronox related to the Legacy Businesses, in addition to the creditors and parties in

interest with claims arising from Tronox’s operating businesses.

                                         Relief Requested

       7.       By this Motion, Tronox respectfully requests entry of an order (a) establishing the

deadline for filing proofs of claim in the Chapter 11 Cases (the “Bar Date”), (b) approving the

form and manner for filing proofs of claim and (c) approving notice thereof.

A.     Bar Dates

       8.       Tronox requests that the Court establish August 12, 2009 at 8:00 pm. (Eastern

Time) as the Bar Date by which all persons and entities (including individuals, partnerships,

corporations, joint ventures, trusts, and governmental units), holding or wishing to assert a claim,

as that term is defined in section 101(5) of the Bankruptcy Code (each a “Claim”), against any of

Tronox Incorporated or its affiliate debtors, must file proof of such Claim (a “Proof of Claim”).

       9.       Tronox further requests that the Court authorize Tronox to establish supplemental

bar dates as needed in certain circumstances upon written consent of the Creditors’ Committee

(collectively, the “Supplemental Bar Dates”). Tronox proposes to file a notice on the Court’s

docket which identifies the Supplemental Bar Date and the creditors subject thereto, and send a

Bar Date Package (as defined below) to the impacted creditors.              Tronox anticipates that

Supplemental Bar Dates may be needed in the following instances:

            •   First, in the event that Tronox amends or supplements its Schedules, Tronox
                requests that the Court establish the later of (a) the Bar Date or (b) thirty (30)
                days from the date on which Tronox notifies affected creditors of the
                amendment to the Schedules as the deadline by which such creditors may file
                a Proof of Claim with respect thereto.

            •   Second, Tronox anticipates rejecting various executory contracts and
                unexpired leases pursuant to section 365(a) of the Bankruptcy Code during the
                Chapter 11 Cases. In connection therewith, Tronox requests that the Court

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                  establish the later of (a) the Bar Date, (b) the date provided in the order
                  authorizing the rejection (or notice of rejection) of the contract or lease or (c)
                  if no such date is provided, then 30 days after the date such order is entered or
                  notice is provided, as the deadline by which counterparties may file a Proof of
                  Claim asserting damages arising from the rejection of an executory contract or
                  unexpired lease.

             •    Third, Tronox anticipates that it may be appropriate to supplement the initial
                  mailing of the Bar Date Package (as defined below) in certain instances,
                  including when (a) other creditors become known to Tronox after the initial
                  mailing, (b) notices are returned by post office with forwarding addresses and
                  (c) certain parties acting on behalf of other parties in interest (e.g., banks and
                  brokers with respect to equity holders) provide appropriate names and
                  addresses of those other parties in interest for direct mailing by Tronox. To
                  the extent that Tronox determines that a re-mailing is appropriate under the
                  circumstances, but the re-mailing cannot be accomplished in time to provide
                  at least 30 days’ notice of the Bar Date to the impacted creditors, then Tronox
                  proposes that the Court establish a deadline which provides the impacted
                  creditors with at least 30 days’ notice to file a Proof of Claim.

B.     Parties Excluded from the Bar Dates

       10.        As a matter of law, procedure or case administration, parties should not be

required to file a Proof of Claim on account of certain categories of Claims that they may hold

against Tronox. Specifically, the Bar Dates should not apply to:

             a.      Any Claim for which a Proof of Claim has previously been filed against
                     Tronox with the Clerk of the Court (the “Clerk”) in a form substantially
                     similar to Official Bankruptcy Form No. 10 (“Official Form 10”);

             b.      Any Claim that is listed on Tronox’s Schedules; provided, however, that:
                     (i) the Claim is not scheduled as “disputed,” “contingent” or
                     “unliquidated;” (ii) the Claimant does not disagree with the amount, nature
                     and priority of the Claim as set forth in the Schedules; and (iii) the
                     Claimant does not dispute that the Claim is an obligation of the specific
                     Debtor(s) as set forth in the Schedules;

             c.      Any Claim that has been allowed pursuant to an order of the Court;

             d.      Any Claim against a Debtor that has been paid in full by any of the
                     Debtors or any other party;

             e.      Any Claim that is subject to specific deadlines, aside from those
                     established pursuant to this Motion, fixed by the Court;



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               f.      Any Claim held by a Debtor in these Chapter 11 Cases;

               g.      Any Claim of a current Tronox employee for Wages and Benefits (as
                       defined in the order of this Court, entered on February 6, 2009 (Dkt. No.
                       143), authorizing Tronox to honor Claims for Employee Wages and
                       Benefits);

               h.      Any Claim that is limited exclusively to the repayment of principal,
                       interest and/or other applicable fees and charges (“Debt Claim”) owed
                       under any bond or note issued by Tronox pursuant to an indenture (a
                       “Debt Instrument”); provided, however, that: (i) an indenture trustee under
                       a Debt Instrument (the “Indenture Trustee”) must file one Proof of Claim,
                       on or before the Bar Date, with respect to all of the amounts owed under
                       each of the Debt Instruments and (ii) any holder of a Debt Claim wishing
                       to assert a claim, other than a Debt Claim, arising out of or relating to a
                       Debt Instrument must file a Proof of Claim on or before the Bar Date,
                       unless another exception in this paragraph applies;

               i.      Any Claimant whose Claim is based on an interest in an equity security of
                       Tronox; provided, however, that any Claimant who wishes to assert a
                       Claim against Tronox based on, without limitation, Claims for damages or
                       rescission based on the purchase or sale of an equity security, must file a
                       Proof of Claim on or before the Bar Date;3 and

               j.      Any Claim allowable under sections 503(b) and 507(a)(1) of the
                       Bankruptcy Code as administrative expenses of Tronox’s Chapter 11
                       Cases, with the exception of Claims allowable under section 503(b)(9) of
                       the Bankruptcy Code, which are subject to Bar Date as provided above.

C.       The Proof of Claim Form

         11.        Tronox has prepared a standard form for each Proof of Claim (the “Proof of

Claim Form”), a copy of which is attached hereto as Exhibit B. The proposed Proof of Claim

Form is based on Official Form 10, and Tronox requests that the Court approve the proposed

Proof of Claim Form for the filing of Proofs of Claim in the Chapter 11 Cases.

         12.        Tronox further proposes to provide, with the assistance of its notice and claims

agent, Kurtzman Carson Consultants LLC (“KCC”), a “personalized” Proof of Claim to each of

3    Tronox reserves all rights with respect to any such Claims including, inter alia, to assert that such Claims are
     subject to subordination pursuant to section 510(b) of the Bankruptcy Code.




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the creditors listed on Tronox’s Schedules. Each Proof of Claim will include information

reflected in the Schedules as to the appropriate creditor’s name, the amount of the Claim against

the applicable Debtor, the type of Claim held by such creditor (i.e., non-priority unsecured,

priority unsecured or secured) and whether such Claim is disputed, contingent or unliquidated.

Each creditor will have an opportunity to review the Proof of Claim provided by KCC and

correct any information that is missing, incorrect or incomplete. Additionally, any creditor may

choose to submit a Proof of Claim. The personalized Proof of Claim Form will facilitate the

Chapter 11 Cases by reducing delay, confusion and expense and will make possible the matching

of scheduled and filed Claims while providing scheduled creditors with an opportunity to correct

any erroneous information.

D.       Requirements for Preparing and Filing Proofs of Claim

         13.        Tronox requests that, with respect to filing and preparing Proofs of Claim, the

following requirements be met to render such Proofs of Claims timely filed and valid4:

               a.      Each Proof of Claim must: (i) be signed by the creditor or, if the creditor
                       is not an individual, by an authorized agent of the creditor; (ii) be written
                       in English; (iii) include a Claim amount denominated in United States
                       dollars; (iv) state a Claim against only one Debtor; and (v) clearly indicate
                       the Debtor against which the creditor is asserting a Claim;

               b.      Each Proof of Claim must include supporting documentation (or, if such
                       documentation is voluminous, a summary of such documentation) or an
                       explanation as to why such documentation is not available; provided,
                       however, that a Proof of Claim may be filed without supporting
                       documentation upon the prior written consent of Tronox and any other
                       party in interest; provided, further, that any creditor that received such
                       written consent shall be required to transmit such writings to Tronox or


4    The following procedures shall not apply to Credit Suisse, as administrative agent for Tronox’s prepetition
     lenders. Rather, Tronox requests that the Court authorize Credit Suisse to file a single, consolidated proof of
     claim in the Chapter 11 Cases on behalf of itself and the prepetition lenders in connection with all of the Claims
     arising under or in connection with the applicable prepetition agreements (and all documents related thereto).




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                       other party in interest upon request no later than ten days from the date of
                       such request;

             c.        All Proofs of Claim must be actually received by no later than 8:00 p.m.
                       (Eastern Time) on August 12, 2009 (or an alternative Bar Date, if
                       applicable) at the following address:

                          Tronox Claims Processing Center
                          c/o Kurtzman Carson Consultants LLC
                          2335 Alaska Ave.
                          El Segundo, CA 90245

                       Proofs of Claim may be delivered to the above address only by first class
                       U.S. mail (postage prepaid), in person, by courier service, or by overnight
                       delivery.

                       KCC WILL NOT ACCEPT A PROOF OF CLAIM SENT BY
                       FACSIMILE OR E-MAIL; and

             d.        A creditor who wishes to receive acknowledgment of receipt of its Proof
                       of Claim Form must submit a copy of the Proof of Claim Form and a
                       self-addressed, stamped envelope to KCC along with the original Proof of
                       Claim Form.

E.     Procedures for Providing Notice of the Bar Date

                  a.      Mailing of Bar Date Notices

       14.        Tronox, with the assistance of KCC, proposes to provide actual notice of the Bar

Date to its known creditors. Specifically, Tronox intends to mail by first class U.S. mail, postage

prepaid, of the following materials no later than five business days after the date of entry of the

Bar Date Order: (a) written notice of the Bar Date in substantially the form attached hereto as

Exhibit C (the “Bar Date Notice”); and (b) the Proof of Claim Form (together with the Bar Date

Notice, the “Bar Date Package”) to its known creditors.             The Bar Date Notice, which is

consistent with the form of notice adopted by this district pursuant to General Order M-279,

contains information that will notify parties of the Bar Date and inform them as to whether they

must file a Proof of Claim, the procedure for filing a Proof of Claim, and the consequences of not

timely filing a Proof of Claim.


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       15.     KCC will serve the Bar Date Package on the following parties:

               a.     The U.S. Trustee;
               b.     Counsel to the agent for Tronox’s prepetition and postpetition secured
                      lenders;
               c.     Counsel to the Creditors’ Committee;
               d.     Counsel to the Equity Committee;
               e.     All persons or entities that have requested notice of the proceedings in
                      the Chapter 11 Cases;
               f.     All persons or entities that have filed Claims against Tronox as of the
                      date of entry of the Bar Date Order;
               g.     All creditors and other known holders of Claims against Tronox as of
                      the date of entry of the Bar Date Order, including all persons or
                      entities listed in the Schedules as holding Claims against one or more
                      of the Debtors;
               h.     All parties to Tronox’s executory contracts and unexpired leases as
                      listed on the Schedules;
               i.     All parties to litigation with Tronox or, where individual addresses are
                      not available, through their counsel of record;
               j.     Anadarko Petroleum Corporation, as the successor-in-interest to Kerr-
                      McGee;
               k.     The Internal Revenue Service;
               l.     The United States Attorney for the Southern District of New York on
                      behalf of the Environmental Protection Agency, and other agencies
                      and instrumentalities of the Unites States of America;
               m.     State attorneys general for states in which Tronox’s property is
                      located; and
               n.     Tronox’s current employees, and Tronox’s former employees, to the
                      extent that contact information for former employees is available in
                      Tronox’s records.

                      (i)     Notice to Tort Plaintiffs

       16.     As discussed in the First Day Declaration, Tronox is presently aware of

approximately 120 tort suits pending against Tronox related to the Legacy Businesses inherited

from Kerr-McGee. Tronox does not have personal information for many of the plaintiffs in these

lawsuits (collectively, the “Tort Claimants”). Specifically, due to the manner in which certain of


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these alleged claims are handled by plaintiffs’ counsel, Tronox does not have, and cannot

reasonably obtain, the name and address of each individual Tort Claimant. In many instances,

communication regarding the Tort Claimants and their pending lawsuits has been solely through

and with counsels of record. Accordingly, Tronox intends to mail the Bar Date Notice to

individual Tort Claimants where individual contact information is known and, where individual

contact information for Tort Claimants is not known, to their counsel of record on their behalf.

Tronox believes that these procedures will reduce the administrative and economic burdens

placed on Tronox and will not adversely affect the rights of the Tort Claimants, because they will

receive notice of the Bar Date through their counsel of record in their respective lawsuits.

                       (ii)    Supplemental Mailings

       17.     After the initial mailing of the Bar Date Package, Tronox anticipates it may be

appropriate to make supplemental mailings of notices in a number of situations, including in the

event that (a) notices are returned by the post office with forwarding addresses (unless notices

are returned as “return to sender” without a forwarding address, in which cases Tronox should

not be required to mail additional notices to such creditors), (b) certain parties acting on behalf of

other parties in interest that decline to pass along notices to these parties and instead return the

names and addresses of these parties in interest to Tronox for direct mailing, and (c) additional

creditors that become known as the result of the Bar Date noticing process. In this regard,

Tronox requests that the Court authorize supplemental mailings of the Bar Date Notice in these

and similar circumstances. If such mailings are made at any time up to 30 days in advance of the

Bar Date, Tronox requests that the Court deem such mailings timely and deem the Bar Date

applicable to the recipient creditor. Tronox believes that these proposed supplemental mailings

will help to provide actual notice to known creditors wherever practicable, while preserving the

integrity of the Bar Date and facilitating the Claims resolution process.

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                 b.     Publication of General and Site-Specific Bar Date Notices

       18.       In the interest of ensuring that as many potential creditors as possible receive

notice of the Bar Dates in these Chapter 11 Cases, Tronox intends to give additional notice of the

Bar Date by two types of publication: (a) a general publication notice in the national edition of

The Wall Street Journal; and (b) supplemental site-specific notices in local publications in those

areas in which Tronox believes unknown creditors with Legacy Business Claims are most likely

to be located.

       19.       General Publication Notice: In accordance with Bankruptcy Rules 2002(a)(7) and

(l), Tronox intends to publish the Bar Date Notice, modified for publication in substantially the

form attached hereto as Exhibit D (the “General Publication Notice”), in the national edition of

The Wall Street Journal on one occasion on or before July 12, 2009. The General Publication

Notice will include a telephone number for KCC that creditors may call to obtain copies of the

Proof of Claim Form, the URL for a website at which the creditors may obtain a copy of a Proof

of Claim Form and information concerning the procedures and appropriate deadlines for filing

Proofs of Claim.

       20.       Site-Specific Publication Notices: As stated above, Tronox believes that there

may be thousands of unknown claimants who may have environmental, personal injury, property

or any other Claims against Tronox related to the Legacy Businesses (collectively, the “Legacy

Claimants”). To provide potential Legacy Claimants with appropriate notice of the Bar Date,

Tronox has sought to identify the areas most likely to have been impacted by the Legacy

Businesses and, with the assistance of KCC, the publications most likely to reach affected

creditors. Based on that review, Tronox preliminarily has determined that there is a reasonable

basis to assume that a majority of the Legacy Claimants presently unknown to Tronox may live

in the areas immediately surrounding 35 sites owned or operated by the Legacy Businesses.

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These sites include, among others, Tronox’s most significant known environmental sites such as

Manville, New Jersey and West Chicago, Illinois.         Tronox believes that these sites, taken

together, reasonably represent the locations in which unknown Legacy Claimants most impacted

by the Legacy Businesses are likely to be located.

       21.     To provide potential Legacy Claimants near these identified sites with

information regarding the Bar Date, Tronox intends to supplement the General Publication

Notice with 35 site-specific notices (collectively, the “Site-Specific Publication Notices”). Each

Site-Specific Publication Notice will contain additional information regarding the particular site

at issue and will be published adjacent to the General Publication Notice in local and regional

newspapers or periodicals within the impacted areas on one occasion on or before July 12, 2009.

Forms of the Site-Specific Publication Notices are attached hereto as Exhibit E. A list of

proposed local publications for the Site-Specific Publication Notice, along with the target

coverage area and an estimated cost for each publication, is also annexed hereto as Exhibit F.

Tronox believes that publication of Site-Specific Publication Notices in the areas Tronox

believes have been most impacted by the Legacy Businesses is most likely, in a cost effective

manner, to provide sufficient notice to unknown Legacy Claimants who may have Claims

against Tronox related to the Legacy Businesses.

F.     Consequences of Failing to File a Proof of Claim by the Applicable Bar Date

       22.     Pursuant to Bankruptcy Rule 3003(c)(2), Tronox proposes that any creditor who

is required to file a Proof of Claim in accordance with the Bar Date Order on or before the Bar

Date or Supplemental Bar Date, as applicable, but fails to do so shall be forever barred, estopped

and enjoined from asserting such claim against Tronox (or from filing a Proof of Claim with

respect thereto). Tronox proposes further that, with respect to a creditor who fails to file a Proof

of Claim, Tronox shall be forever discharged from any and all indebtedness or liability with

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respect to such Claim, and that such creditor shall not be permitted to vote to accept or reject any

plan of reorganization filed in the Chapter 11 Cases, participate in any distribution on account of

such Claim, or receive further notices regarding such Claim.

                                         Basis for Relief

       23.     The Bankruptcy Code broadly defines a “claim” as:

               (A) right to payment, whether or not such right is reduced to
               judgment, liquidated, unliquidated, fixed, contingent, matured,
               unmatured, disputed, undisputed, legal, equitable, secured, or
               unsecured; or

               (B) right to an equitable remedy for breach of performance if such
               breach gives rise to a right to payment, whether or not such right to
               an equitable remedy is reduced to judgment, fixed, contingent,
               matured, unmatured, disputed, undisputed, secured, or unsecured.

11 U.S.C. § 101(5). Generally, a creditor must file a proof of claim with the Bankruptcy Court

to assert a claim in a bankruptcy proceeding. See 11 U.S.C. § 501(a).

       24.     Bankruptcy Rule 3003(c)(2) provides that any creditor whose claim is not

scheduled in the debtor’s schedules or whose claim is scheduled as disputed, contingent or

unliquidated must file a proof of claim.          Fed. R. Bankr. P. 3003(c)(2).         Bankruptcy

Rule 3003(c)(3) further provides that the Court shall fix the time within which proofs of claim

must be filed. Fed. R. Bankr. P. 3003(c)(3).

       25.     It is well-recognized that a claim bar date plays an essential role in allowing a

debtor and parties in interest to expeditiously determine and evaluate the liabilities of an estate,

which is, in turn, necessary to develop a plan of reorganization. Prolonged uncertainty regarding

claims can delay and potentially derail this process. As the Bankruptcy Court for the Southern

District of New York noted in In re Waterman Steamship Corp., 59 B.R. 724, 726 (Bankr.

S.D.N.Y. 1986) (“Absent the setting of a bar date, a Chapter 11 case could not be administered to

a conclusion. There would be no time established for the filing of claims.”).

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       26.     Given the particular circumstances of the Chapter 11 Cases, and to ensure the

greatest possible value for the estates and Tronox’s stakeholders at the conclusion of the sale

process, it is important that Tronox ascertain, as soon as possible, the full nature and scope of the

Claims asserted against its respective estates. See 2/6/09 Hr’g Trans. at p. 65 (this Court noting

that the particular circumstances of the Chapter 11 Cases lend themselves to the early

identification and resolution of claims). Entry of the Bar Date Order will make this possible.

A.     The Proposed Form and Manner of Notice is Reasonable and Adequate.

       27.     To ensure that as wide a range of potential creditors as possible are apprised of

the Bar Date and have the opportunity to file a Proof of Claim in the Chapter 11 Cases, Tronox

seeks to give all interested parties appropriate notice of the Bar Date. To determine the adequacy

of notice to a creditor, the case law distinguishes between “known” and “unknown” creditors.

The United States Supreme Court has characterized a “known” creditor as one whose identity is

either known or is “reasonably ascertainable by the debtor.” Tulsa Prof’l Collection Serv., Inc.

v. Pope, 485 U.S. 478, 490 (1988). An “unknown” creditor is one whose “interests are either

conjectural or future or, although they could be discovered upon investigation, do not in due

course of business come to knowledge [of the debtor].” Mullane v. Central Hanover Bank &

Trust Co., 339 U.S. 306, 317 (1950).

       28.     Tronox proposes to mail notice of the Bar Date to its known creditors and propose

to rely on publication to give notice to its unknown creditors. This notice is consistent with

applicable case law and practice in this district. See Mullane v. Central Hanover Bank and Trust

Co., 339 U.S. 306 (1950) (publication is acceptable where it is not “reasonably possible or

practicable to give more adequate warning,” whereas when names and addresses are available,

notice must be mailed); In re Enron Corp., 2006 WL 898031 at *4 (Bankr. S.D.N.Y. 2006)

(“debtor must send actual notice of the bar date to any known creditor, while constructive notice

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is generally sufficient with an unknown creditor”); Daewoo Int’l (Am.) Corp. Creditor Trust v.

SSTS Am. Corp., 2003 WL 21355214 at *3 (S.D.N.Y. 2003) (same).

       29.     The entry of orders granting the relief requested herein is generally

uncontroversial in large chapter 11 cases in this district. See, e.g., In re Frontier Airlines

Holdings, Inc., Case No. 08-11298 (Bankr. S.D.N.Y. Sept. 24, 2008) (approving notice by mail

to known creditors and notice by publication to unknown creditors); In re Wellman, Inc., Case

No. 08-10595 (Bankr. S.D.N.Y. June 17, 2008) (same); In re Dana Corp., Case No. 06-10354

(Bankr. S.D.N.Y. July 5, 2006) (same); In re Northwest Airlines Corp., Case No. 05-17930

(Bankr. S.D.N.Y. May 19, 2006) (same); In re Calpine Corp., Case No. 05-60200 (Bankr.

S.D.N.Y. Apr. 26, 2006).

               (i)     Notice to Known Creditors

       30.     Where a creditor is known to the debtor, due process requires that the debtor take

reasonable steps, such as direct mailing, to provide actual notice of the deadline for filing proofs

of claim. See Pope, 485 U.S. at 491 (holding that where creditor was known or “reasonably

ascertainable,” then due process only requires “notice by mail or other means as certain to ensure

actual notice”); Fogel v. Zell, 221 F.3d 955, 963 (7th Cir. 2000) (“If his name and address are

reasonably ascertainable, he is entitled to have that information sent directly to him.”); In re

Waterman Steamship Corp., 157 B.R. 220, 221 (S.D.N.Y. 1993) (same).

       31.     A debtor must undertake “reasonably diligent efforts” to uncover the identities

and claims of known creditors. In re Brooks Fashion Stores, 1994 WL 132280 at *2 (S.D.N.Y.

1994). A debtor does not have to undergo a “vast, open-ended investigation,” but rather only

needs to focus on its own “books and records.” In re XO Commc’ns, 301 B.R. 782, 793 (Bankr.

S.D.N.Y. 2003) (quoting Chemetron Corp. v. Jones, 72 F.3d 341, 346 (3d Cir. 1995)). While a

debtor is obligated to review its own books and records to ascertain the identity of its creditors,

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“[d]ebtors cannot be required to provide actual notice to anyone who potentially could have been

affected by their actions; such a requirement would completely vitiate the most important goal of

prompt and effectual administration and settlement of the debtors’ estates.” In re U.S.H. Corp.

of New York, 223 B.R. 654, 659 (Bankr. S.D.N.Y. 1998).

       32.     To ascertain its known creditors, Tronox has undertaken a careful examination of

its books and records and all aspects of its operating businesses. Tronox also has investigated

claims that may have arisen from the Legacy Businesses, including (a) environmental cleanup

and remediation at sites related to the Legacy Businesses, (b) third-party tort liabilities related to

the alleged release of hazardous materials by the Legacy Businesses and (c) retirement and other

employee benefit liabilities for current and former employees of the Legacy Businesses.

Accordingly, Tronox believes it has identified all creditors that are reasonably ascertainable and,

hence, known creditors.

       33.     Tronox proposes to provide all creditors identified during the review of its books

and records and operations with 60 days’ notice of the Bar Date by mailing them the Bar Date

Package. Tronox submits that this satisfies the requirement that it provide actual notice to

creditors who are reasonably known to it.

               (ii)    Notice to Unknown Creditors

       34.     Where a creditor is unknown to the debtor, due process requires that the debtor

must take reasonable steps, such as notice by publication, to provide constructive notice of the

deadline for filing proofs of claim. See XO Comm., 301 B.R. at 792 (if a creditor is unknown

constructive notice is generally sufficient); DePippo v. Kmart Corp., 335 B.R. 290, 296

(S.D.N.Y. 2005) (“It is well-settled that when a creditor is “unknown” to the debtor, publication

notice of the claims bar date is adequate constructive notice sufficient to satisfy due process

requirements”); U.S.H. Corp., 223 B.R. at 658 (same). Furthermore, debtors are not required to

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publish notice in an excessive number of publications. See In re Best Products Co., Inc., 140

B.R. 353 (Bankr. S.D.N.Y. 1992) (Court found it impracticable to expect a debtor to publish

notice in every newspaper that an unknown creditor possibly may read).

       35.     Bankruptcy Rule 9008 provides that the Court “shall determine the form and

manner” of notice by publication including the “newspaper or other medium to be used and the

number of publications.” As set forth above, Tronox proposes to supplement the Bar Date

Notice mailing by publishing the General Publication Notice in the national edition of The Wall

Street Journal on at least one occasion prior to July 12, 2009, so as to provide unknown creditors

with at least 30 days’ constructive notice of the Bar Date. Tronox submits that the publication of

the General Publication Notice complies with the requirements of the Local Bankruptcy Rules

and General Order M-279 and will provide reasonable constructive notice to unknown creditors.

       36.     Moreover, as stated above, Tronox intends to provide targeted notices to potential

Legacy Claimants located in those geographical areas that Tronox has determined are most likely

to have been impacted by the Legacy Businesses. As explained above, to select the areas to be

targeted with the Site-Specific Publication Notices, Tronox engaged in an intensive review to

identify the areas where it was reasonable to assume Legacy Claimants presently unknown to

Tronox may live and, with the assistance of KCC, the publications most likely to reach those

parties. Tronox believes that the Site-Specific Publication Notices and the selection of the areas

selected for notification are reasonably designed to reach those parties in a cost-effective manner.

       37.     Accordingly, Tronox submits that the publication of the Site-Specific Publication

Notices, in conjunction with the General Publication Notice, is reasonably calculated to reach all

parties in interest, is reasonable and adequate and should be approved.




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               (iii)   Notice to Tort Claimants

       38.     Courts have found that sending notice to the counsel of record to litigation

claimants where personal information cannot be obtained provides sufficient notice of a bar date

to those claimants. See Robbins v. Amoco Prod. Co., 952 F.2d 901, 908 (5th Cir. 1992) (creditor

put on notice of bar date through their counsel of record); In re Northwest Airlines Corp., 2007

WL 2815917 at *4 (Bankr. S.D.N.Y. 2007) (notice to class counsel was prima facie reasonable);

In re Solutia Inc., Case No. 03-17949 (Bankr. S.D.N.Y. Sept. 30, 2004) (authorizing notice by

mail to counsel of record for litigation claimants where personal information was not available).

       39.     Tronox submits that the mailing of Bar Date Notices to the counsels of record for

the various Tort Claimants for whom Tronox does not have personal information will reduce the

administrative and economic burdens placed on Tronox.          Moreover, mailing the Bar Date

Notices to the counsels of record will not adversely affect the rights of the Tort Claimants,

because they will receive notice of the Bar Date through their counsel of record in their

respective lawsuits. Under these circumstances, Tronox believes that giving notice of the Bar

Date to the counsel of record for the Tort Claimants for whom Tronox lacks personal

information constitutes sufficient notice of the Bar Date and is appropriate and warranted.

B.     The Proposed Notice Periods are Reasonable and Adequate.

       40.     Bankruptcy Rule 2002(a)(7) requires that a debtor provide claimants at least 20

days’ notice by mail of the time fixed for filing proofs of claims. Fed. R. Bankr. P. 2002(a)(7).

In the Southern District of New York, additional notice of a bar date is required beyond the

notice periods set forth in the Bankruptcy Rules. Specifically, Local Bankruptcy Rule 3003(c)

and General Order M-279 provide that creditors should have at least 35 days’ notice of the date

by which they must file claims against a debtor, when measured from the date on which notice is

mailed, and at least 25 days’ notice of such date, when measured from the date on which notice

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is published. See L.B.R. 3003(c) (adopting Gen. Order M-279) and Gen. Order M-279 (bar date

should be at least 35 days after the mailing date and at least 25 days after the publication date,

plus an additional five business days to process the bar date order).

        41.    The relief requested herein provides for clear and sufficient notice of the Bar

Date. Specifically, Tronox intends to mail the Bar Date Notice within five business days after

entry of the Bar Date Order to known creditors, which will provide known creditors with 60

days’ actual notice of the Bar Date. Tronox further intends to provide unknown creditors with

30 days’ constructive notice by publication of the General and Site-Specific Publication Notices.

This notice more than satisfies Bankruptcy Rule 2002(a)(7) and Local Rule 3003-1.

        42.    Accordingly, Tronox requests that the Court find that the procedures regarding the

notices described herein be deemed good, adequate and sufficient notice.

                                         Motion Practice

        43.    This Motion includes citations to the applicable rules and statutory authorities

upon which the relief requested herein is predicated, and a discussion of their application to this

Motion. Accordingly, Tronox submits that this Motion satisfies Local Bankruptcy Rule 9013-

1(a).

                                              Notice

        44.    Tronox has provided notice of this Motion to: (a) the U.S. Trustee; (b) counsel to

the agent for the Debtors’ prepetition and postpetition secured lenders; (c) counsel to the

Creditors’ Committee; (d) counsel to the Equity Committee; (e) the Office of the United States

Attorney for the Southern District of New York; and (f) all those persons and entities that have

formally appeared and requested service in the Chapter 11 Cases pursuant to Bankruptcy Rule

2002. In light of the nature of the relief requested, Tronox respectfully submits that no further

notice is necessary.

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                                       No Prior Request

         45.   No prior motion for the relief requested herein has been made to this or any other

court.




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       WHEREFORE, for the reasons set forth herein, Tronox respectfully requests that the

Court enter an order, substantially in the form annexed hereto as Exhibit A, (a) establishing the

deadline for filing Claims in the Chapter 11 Cases, (b) approving the form and manner for filing

such Claims and (c) approving notice thereof.

New York, New York                               /s/ Colin M. Adams
Dated: May 5, 2009                               Richard M. Cieri
                                                 Jonathan S. Henes
                                                 Colin M. Adams
                                                 KIRKLAND & ELLIS LLP
                                                 Citigroup Center
                                                 153 East 53rd Street
                                                 New York, New York 10022-4611
                                                 Telephone:    (212) 446-4800
                                                 Facsimile:    (212) 446-4900

                                                 Counsel to the Debtors
                                                 and Debtors in Possession




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                                    EXHIBIT A

                                  Bar Date Order




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                            )
In re:                                                      )     Chapter 11
                                                            )
TRONOX INCORPORATED, et al.,1                               )     Case No. 09-10156 (ALG)
                                                            )
                           Debtors.                         )     Jointly Administered
                                                            )

                  ORDER (A) SETTING BAR DATES FOR FILING PROOFS
                OF CLAIM, (B) APPROVING THE FORM AND MANNER FOR
            FILING PROOFS OF CLAIM AND (C) APPROVING NOTICE THEREOF

           Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”) (a) establishing the

deadline for filing claims in these chapter 11 cases (the “Chapter 11 Cases”), (b) approving the

form and manner for filing such claims and (c) approving notice thereof; and it appearing that the

relief requested is in the best interests of the Debtors’ estates, their creditors and other parties in

interest; and the Court having jurisdiction to consider the Motion and the relief requested therein

pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of the Motion and the relief requested

therein being a core proceeding pursuant to 28 U.S.C. § 157(b); venue being proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409; and notice of the Motion having been adequate

and appropriate under the circumstances; and after due deliberation and sufficient cause

appearing therefor, it is hereby ORDERED

           1.     The Motion is granted.

1    The Debtors in these cases include: Tronox Luxembourg S.ar.L; Tronox Incorporated; Cimarron Corporation;
     Southwestern Refining Company, Inc.; Transworld Drilling Company; Triangle Refineries, Inc.; Triple S, Inc.;
     Triple S Environmental Management Corporation; Triple S Minerals Resources Corporation; Triple S Refining
     Corporation; Tronox LLC; Tronox Finance Corp.; Tronox Holdings, Inc.; Tronox Pigments (Savannah) Inc.;
     and Tronox Worldwide LLC.
2    Capitalized terms used, but not otherwise defined, herein shall have the meanings set forth in the Motion.




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           2.    Pursuant to Bankruptcy Rule 3003(c)(3), except as provided in paragraph 7

hereof, all persons and entities (including individuals, partnerships, corporations, joint ventures,

trusts, and governmental units), holding or wishing to assert a claim, as that term is defined in

section 101(5) of the Bankruptcy Code (each, a “Claim”), against any of the Debtors that arose

on or prior to the filing of the Debtors’ Chapter 11 Cases on January 12, 2009, are required to

file proof of such Claim (a “Proof of Claim”) pursuant to the procedures and on or before the

deadlines (each a “Bar Date” and, collectively, the “Bar Dates”) established by this Order.

           3.    Except as expressly provided herein, each and every Proof of Claim for a Claim

that arose before the Petition Date against any of the Debtors, including a Claim pursuant to

section 503(b)(9) of the Bankruptcy Code, in these Chapter 11 Cases shall be actually received

on or before August 12, 2009 at 8:00 p.m. (Eastern Time) (the “Bar Date”).

           4.    Pursuant to Bankruptcy Rule 3003(c)(2), all creditors that fail to comply with this

Order by timely filing a Proof of Claim in appropriate form shall not be treated as a creditor with

respect to such Claim for purposes of voting on a chapter 11 plan and distribution thereunder on

account of such Claim.

           5.    The standard form of Proof of Claim (the “Proof of Claim Form”) attached to the

Motion as Exhibit B is hereby approved.

           6.    The following rules shall govern the completion and filing of each Proof of

Claim:

                 a.     Each Proof of Claim must conform substantially with the
                        Proof of Claim Form or Official Form No. 10;

                 b.     All Proofs of Claim must be actually received no later than
                        8:00 p.m. (Eastern Time) on August 12, 2009 at the
                        following address:




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                              Tronox Claims Processing Center
                              c/o Kurtzman Carson Consultants LLC
                              2335 Alaska Ave.
                              El Segundo, CA 90245

                       Proof of Claim must be delivered to the above address by
                       first class U.S. mail (postage prepaid), in person, by courier
                       service, or by overnight delivery;

                       The Debtors’ notice and claims agents, Kurtzman
                       Carson Consulting LLC (“KCC”), will not accept a
                       Proof of Claim sent by facsimile or e-mail;

                 c.    Each Proof of Claim will be deemed filed only when
                       received;

                 d.    Each Proof of Claim must: (i) be signed by the creditor or if
                       the creditor is not an individual, by an authorized agent of
                       the creditor; (ii) be written in English; (iii) include a Claim
                       amount denominated in United States dollars; (iv) state a
                       Claim against only one Debtor; and (v) clearly indicate the
                       Debtor against which the creditor is asserting a Claim;

                 e.    Each Proof of Claim must include supporting
                       documentation (or, if such documentation is voluminous, a
                       summary of such documentation) or an explanation as to
                       why such documentation is not available; provided,
                       however, that a Proof of Claim may be filed without
                       supporting documentation upon the prior written consent of
                       the Debtors and any other party in interest; provided,
                       further, that any creditor that received such written consent
                       shall be required to transmit such writings to the Debtors or
                       other party in interest upon request no later than
                       ten (10) days from the date of such request; and

                 f.    A creditor who wishes to receive acknowledgment of
                       receipt of its Proof of Claim Form may submit a copy of
                       the Proof of Claim Form and a self-addressed, stamped
                       envelope to KCC along with the original Proof of Claim
                       Form.

           7.    Parties are not required to submit Proofs of Claim in accordance with the

procedures established herein for the following categories of Claims:

                 a.    Any Claim for which a Proof of Claim has already been
                       filed against the Debtors with the Clerk of the Court (the

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                      “Clerk”) in a form substantially similar to Official
                      Bankruptcy Form No. 10;

                 b.   Any Claim that is listed on the Debtors’ Schedules;
                      provided, however, that: (i) the Claim is not scheduled as
                      “disputed,” “contingent” or “unliquidated”; (ii) the
                      Claimant does not disagree with the amount, nature and
                      priority of the claim as set forth in the Schedules; and
                      (iii) the Claimant does not dispute that the Claim is an
                      obligation of the specific Debtor(s) as set forth in the
                      Schedules;

                 c.   Any Claim that has been allowed previously pursuant to an
                      order of this Court;

                 d.   Any Claim against a Debtor that has been paid in full by
                      any of the Debtors or any other party;

                 e.   Any Claim that is subject to specific deadlines, aside from
                      those established pursuant to this Order, fixed by this
                      Court;

                 f.   Any Claim held by a Debtor in these Chapter 11 Cases;

                 g.   Any Claim held by a current employee of the Debtors for
                      Wages and Benefits (as defined in the order of this Court
                      entered on February 6, 2009 [Dkt. No. 143] authorizing the
                      Debtors to honor Claims for Employee Wages and
                      Benefits);

                 h.   Any Claim that is limited exclusively to the repayment of
                      principal, interest and/or other applicable fees and charges
                      (“Debt Claim”) owed under any bond or note issued by the
                      Debtors pursuant to an indenture (a “Debt Instrument”);
                      provided, however, that: (i) an indenture trustee under a
                      Debt Instrument (the “Indenture Trustee”) must file one
                      Proof of Claim, on or before the Bar Date, with respect to
                      all of the amounts owed under each of the Debt Instruments
                      and (ii) any holder of a Debt Claim wishing to assert a
                      Claim, other than a Debt Claim, arising out of or relating to
                      a Debt Instrument must file a Proof of Claim on or before
                      the Bar Date, unless another exception in this paragraph
                      applies;

                 i.   Any Claim that is based on an interest in an equity security
                      of the Debtors; provided, however, that any Claimant who
                      wishes to assert a Claim against any of the Debtors based
                      on, without limitation, Claims for damages or rescission
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                           based on the purchase or sale of an equity security, must
                           file a Proof of Claim on or before the Bar Date;3 and

                  j.       Any Claim allowable under sections 503(b) and 507(a)(1)
                           of the Bankruptcy Code as an administrative expense of the
                           Debtors’ Chapter 11 Cases, with the exception of any
                           Claim allowable under section 503(b)(9) of the Bankruptcy
                           Code, which is subject to Bar Date as provided above.

           8.     In the event the Debtors amend or supplement their schedules of liabilities

(collectively, the “Schedules”), the Debtors shall give notice of any amendment or supplement to

the holders of any Claim affected thereby, and such holders shall be afforded thirty (30) days

from the date on which such notice is given or until the Bar Date, if the Bar Date is later, to file a

Proof of Claim with respect to their Claim or be forever barred from doing so.

           9.     The holder of any Claim that arises from the Debtors’ rejection of any executory

contract or unexpired lease after the date of entry of this Order shall file a Proof of Claim based

on such rejection by the later of (a) the Bar Date, (b) a date provided in an order authorizing the

Debtors to reject (or notice of rejection of) an executory contract or unexpired lease or (c) if no

date is provided, thirty (30) days after the date of any order authorizing such rejection or notice

of such rejection is entered.

           10.    The Debtors, with the assistance of KCC, are hereby authorized and directed to

serve the following materials by first class U.S. mail, postage prepaid, on all known creditor

holding actual or potential Claims no later than five (5) business days after the date of entry of

this Order: (a) written notice of the Bar Date in substantially the form annexed to the Motion as




3    The Debtors reserve all rights with respect to any such Claims including, inter alia, to assert that such Claims
     are subject to subordination pursuant to section 510(b) of the Bankruptcy Code




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Exhibit C, (the “Bar Date Notice”); and (b) the Proof of Claim Form (collectively, the “Bar Date

Package”).

           11.   The Bar Date Notice, substantially in the form attached to the Motion as

Exhibit C, is hereby approved.

           12.   KCC is further authorized and directed to mail the Bar Date Package no later than

five (5) business days after the date of entry of this Order to the following parties:

                 a.     The U.S. Trustee;
                 b.     Counsel to the agent for the Debtors’ prepetition and
                        postpetition secured lenders;
                 c.     Counsel to the Creditors’ Committee;
                 d.     Counsel to the Equity Committee;
                 e.     Anadarko Petroleum Corporation;
                 f.     The United States Attorney for the Southern District of
                        New York, on behalf of the United States Department of
                        Justice, the Environmental Protection Agency, and the
                        Securities and Exchange Commission;
                 g.     All persons or entities that have requested notice of the
                        proceedings in the Chapter 11 Cases;
                 h.     All persons or entities that have filed Claims against the
                        Debtors as of the date of entry of this Order;
                 i.     All creditors and other known holders of Claims against the
                        Debtors as of the date of entry of this Order, including all
                        persons or entities listed in the Schedules as holding Claims
                        against one or more of the Debtors;
                 j.     All parties to executory contracts and unexpired leases of
                        the Debtors listed on the Schedules;
                 k.     All parties to litigation with the Debtors or, where
                        individual addresses are not available, through their counsel
                        of record;
                 l.     The United States Attorney for the Southern District of
                        New York on behalf of the Environmental Protection
                        Agency, and other agencies and instrumentalities of the
                        Unites States of America;
                 m.     State attorneys general for the states in which the Debtors’
                        property is located;

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                 n.     The Internal Revenue Service;
                 o.     The Debtors’ current employees, and the Debtors’ former
                        employees to the extent that contact information for former
                        employees is available in the Debtors’ records; and
                 p.     Such additional persons and entities as deemed appropriate
                        by the Debtors.

           13.   The Debtors are further directed, with the assistance of KCC, to include the

following information on every Proof of Claim Form that they supply to a creditor whose Claim

is listed on the Debtors’ Schedules: (a) the amount of such creditor’s Claim against the

applicable Debtor (if such information is reasonably ascertainable), as reflected in the Schedules;

(b) the type of Claim held by such creditor (i.e., non-priority unsecured, priority unsecured or

secured), as reflected in the Schedules; and (c) whether such Claim is contingent, unliquidated or

disputed as reflected in the Schedules. Any person or entity that receives the Proof of Claim

Form is authorized to correct any incorrect information contained in the name and address

portion of such form.

           14.   The Debtors are hereby authorized to provide supplemental mailings of the Bar

Date Package as may be necessary in situations, including, without limitation, (a) notices that are

returned by the post office with forwarding addresses, (b) certain parties acting on behalf of

parties in interest (e.g., banks and brokers with respect to bondholders and equity holders) that

decline to pass along notices to these parties and instead return their names and addresses to the

Debtors for direct mailing and (c) additional potential creditor that become known as the result

of the Bar Date noticing process. Such mailings made at any time up to 30 days in advance of

the Bar Date are hereby deemed timely. Notwithstanding the foregoing, the Debtors shall not be

required to provide any additional notice to any creditor to whom the Debtors mailed the Bar

Date Package in accordance with the terms of this Order and such notice was returned to the

Debtors as undeliverable without a forwarding address.

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           15.   Pursuant to Bankruptcy Rule 2002(f), the Debtors shall give notice of the Bar

Dates by publishing the Bar Date Notice, modified for publication in substantially the form

annexed to the Motion as Exhibit D (the “General Publication Notice”), in The Wall Street

Journal on one occasion on or before July 12, 2009. The General Publication Notice shall

include a telephone number that creditors may call to obtain copies of the Proof of Claim Form, a

URL for a website where the creditors may obtain a copy of a Proof of Claim Form, and

information concerning the procedures for filing Proofs of Claim. The Debtors are authorized to

enter into such transactions to cause such publication to be made and to make reasonable

payments required for publication.

           16.   The Debtors shall also give notice of the Bar Dates by publishing certain Site-

Specific Publication Notices, modified for publication in substantially the form attached to the

Motion as Exhibit E, in the publications listed in Exhibit F to the Motion, on one occasion on or

before July 12, 2009. The Debtors are authorized to enter into such transactions to cause such

publication to be made and to make reasonable payments required for publication.

           17.   The forms of the General Publication Notice and the Site-Specific Publication

Notices substantially in the form attached to the Motion as Exhibits F and G are hereby

approved.

           18.   The Debtors, with the assistance of KCC, are authorized to mail the Bar Date

Notice to counsels of record for Tort Claimants for whom the Debtors lack personal information.

           19.   The Debtors are authorized to establish additional Bar Dates, as necessary, (the

“Supplemental Bar Dates”) with respect to (a) creditors as to whom a remailing of the Bar Date

Package is appropriate, but which cannot be accomplished in time to provide at least thirty

(30) days’ notice of the Bar Date and (b) other creditors that become known to the Debtors after



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the applicable Bar Date; provided, however, that the Debtors obtain the written consent of the

Creditors’ Committee before establishing a Supplemental Bar Date; provided, further, that the

Debtors advise the Court of a Supplemental Bar Date by filing notice of such Supplemental Bar

Date which identifies the Supplemental Bar Date and the creditors subject thereto. In the event

the Debtors establish a Supplemental Bar Date, the Debtors shall mail a Bar Date Package,

modified to include the Supplemental Bar Date, to Claimants who are subject to the

Supplemental Bar Date within thirty (30) days of any Supplemental Bar Date.

           20.   Notice of the Bar Dates as set forth in this Order and in the manner set forth

herein (including the Bar Date Notice, the Bar Date Package, the General Publication Notice, the

Site-Specific Publication Notices, and any supplemental notices that the Debtors may send from

time to time) constitutes adequate and sufficient notice of each of the Bar Dates (including with

respect to any environmental or tort Claims arising from or relating to the Legacy Businesses),

and satisfies the requirements of the Bankruptcy Code, the Federal Rules of Bankruptcy

Procedure, the Local Bankruptcy Rules for the Southern District of New York and General Order

M-279.

           21.   The Debtors are authorized, in their discretion and upon the written consent of the

Creditors’ Committee, to extend a Bar Date by stipulation where the Debtors determine that such

extension is in the best interests of the Debtors and their estates.

           22.   The Debtors are authorized to use the services of KCC to coordinate the

processing of Proofs of Claim.

           23.   Nothing in this Order shall prejudice the right of the Debtors or any other party in

interest to dispute or assert offsets or defenses to any Claim reflected in the Schedules.




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           24.   Entry of this Order is without prejudice to the right of the Debtors to seek a

further order of this Court fixing a date by which holders of Claims or interests not subject to the

Bar Dates contained herein must file such Proofs of Claim or interests or be barred from doing

so.

           25.   The Debtors and KCC are authorized to take all actions necessary or appropriate

to effectuate the relief granted pursuant to this Order in accordance with the Motion.

           26.   The terms and conditions of this Order shall be immediately effective and

enforceable upon entry of the Order.

           27.   The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

Dated:

                                                  UNITED STATES BANKRUPTCY JUDGE




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                                    EXHIBIT B

                                Proof of Claim Form




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UNITED STATES BANKRUPTCY COURT __________ DISTRICT OF __________                                                                                 PROOF OF CLAIM

Name of Debtor:                                                                                                                 Case Number:

   NOTE: This form should not be used to make a claim for an administrative expense arising after the commencement of the case. A request for payment of an
                                                  administrative expense may be filed pursuant to 11 U.S.C. § 503.
Name of Creditor (the person or other entity to whom the debtor owes money or property):                               ❐ Check this box to indicate that this
                                                                                                                          claim amends a previously filed
Name and address where notices should be sent:                                                                            claim.

                                                                                                                                Court Claim Number:______________
                                                                                                                                  (If known)

Telephone number:
                                                                                                                                Filed on:_____________________

Name and address where payment should be sent (if different from above):                                                        ❐ Check this box if you are aware that
                                                                                                                                  anyone else has filed a proof of claim
                                                                                                                                  relating to your claim. Attach copy of
                                                                                                                                  statement giving particulars.

Telephone number:                                                                                                               ❐ Check this box if you are the debtor
                                                                                                                                   or trustee in this case.
1. Amount of Claim as of Date Case Filed:                   $_______________________________                                    5. Amount of Claim Entitled to
                                                                                                                                   Priority under 11 U.S.C. §507(a). If
If all or part of your claim is secured, complete item 4 below; however, if all of your claim is unsecured, do not complete        any portion of your claim falls in
item 4.                                                                                                                            one of the following categories,
                                                                                                                                   check the box and state the
If all or part of your claim is entitled to priority, complete item 5.                                                             amount.

❐Check this box if claim includes interest or other charges in addition to the principal amount of claim. Attach itemized       Specify the priority of the claim.
 statement of interest or charges.
                                                                                                                                ❐ Domestic support obligations under
2. Basis for Claim: _____________________________                                                                                 11 U.S.C. §507(a)(1)(A) or (a)(1)(B).
   (See instruction #2 on reverse side.)
3. Last four digits of any number by which creditor identifies debtor: ______________________                                   ❐ Wages, salaries, or commissions (up
                                                                                                                                  to $10,950*) earned within 180 days
      3a. Debtor may have scheduled account as: ____________________                                                              before filing of the bankruptcy
          (See instruction #3a on reverse side.)                                                                                  petition or cessation of the debtor’s
4. Secured Claim (See instruction #4 on reverse side.)                                                                            business, whichever is earlier – 11
   Check the appropriate box if your claim is secured by a lien on property or a right of setoff and provide the requested        U.S.C. §507 (a)(4).
   information.
                                                                                                                                ❐ Contributions to an employee benefit
   Nature of property or right of setoff:       ❐Real Estate         ❐Motor Vehicle       ❐Other                                  plan – 11 U.S.C. §507 (a)(5).
   Describe:
                                                                                                                                ❐ Up to $2,425* of deposits toward
   Value of Property:$________________ Annual Interest Rate_________%                                                             purchase, lease, or rental of property
                                                                                                                                  or services for personal, family, or
    Amount of arrearage and other charges as of time case filed included in secured claim,                                        household use – 11 U.S.C. §507
                                                                                                                                  (a)(7).
    if any: $__________________           Basis for perfection: ____________________
                                                                                                                                ❐ Taxes or penalties owed to
    Amount of Secured Claim: $__________________ Amount Unsecured: $__________________                                            governmental units – 11 U.S.C. §507
                                                                                                                                  (a)(8).
6. Credits: The amount of all payments on this claim has been credited for the purpose of making this proof of claim.
                                                                                                                                ❐ Other – Specify applicable paragraph
7. Documents: Attach redacted copies of any documents that support the claim, such as promissory notes, purchase                  of 11 U.S.C. §507 (a)(__).
orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages, and security agreements.
You may also attach a summary. Attach redacted copies of documents providing evidence of perfection of                                Amount entitled to priority:
a security interest. You may also attach a summary. (See instruction 7 and definition of “redacted” on reverse side.)
                                                                                                                                           $_______________
DO NOT SEND ORIGINAL DOCUMENTS. ATTACHED DOCUMENTS MAY BE DESTROYED AFTER
SCANNING.                                                                                                                       *Amounts are subject to adjustment on
                                                                                                                                4/1/10 and every 3 years thereafter with
If the documents are not available, please explain:                                                                             respect to cases commenced on or after
                                                                                                                                the date of adjustment.
                                                                                                                                                 FOR COURT USE ONLY
  Date:
   D                     Signature: The person filing this claim must sign it. Sign and print name and title, if any, of the creditor or
                         other person authorized to file this claim and state address and telephone number if different from the notice
                         address above. Attach copy of power of attorney, if any.



                 Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571.


            Reset                                                                                                Save As...                             Print
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B 10 (Official Form 10) (12/08) – Cont.
                                                          Pg 54 of 105
                                                           Pg 38 of 89
                                                            INSTRUCTIONS FOR PROOF OF CLAIM FORM
The instructions and definitions below are general explanations of the law. In certain circumstances, such as bankruptcy cases not filed voluntarily by the debtor, there
                                                                   may be exceptions to these general rules.
                                                                Items to be completed in Proof of Claim form
Court, Name of Debtor, and Case Number:                                                  4. Secured Claim:
Fill in the federal judicial district where the bankruptcy case was filed (for              Check the appropriate box and provide the requested information if
example, Central District of California), the bankruptcy debtor’s name, and the             the claim is fully or partially secured. Skip this section if the claim is
bankruptcy case number. If the creditor received a notice of the case from the              entirely unsecured. (See DEFINITIONS, below.) State the type and
bankruptcy court, all of this information is located at the top of the notice.              the value of property that secures the claim, attach copies of lien
                                                                                            documentation, and state annual interest rate and the amount past due
Creditor’s Name and Address:                                                                on the claim as of the date of the bankruptcy filing.
Fill in the name of the person or entity asserting a claim and the name and address
of the person who should receive notices issued during the bankruptcy case. A            5. Amount of Claim Entitled to Priority Under 11 U.S.C. §507(a).
separate space is provided for the payment address if it differs from the notice            If any portion of your claim falls in one or more of the listed
address. The creditor has a continuing obligation to keep the court informed of its         categories, check the appropriate box(es) and state the amount
current address. See Federal Rule of Bankruptcy Procedure (FRBP) 2002(g).                   entitled to priority. (See DEFINITIONS, below.) A claim may be
                                                                                            partly priority and partly non-priority. For example, in some of the
1. Amount of Claim as of Date Case Filed:                                                   categories, the law limits the amount entitled to priority.
    State the total amount owed to the creditor on the date of the
    Bankruptcy filing. Follow the instructions concerning whether to                     6. Credits:
    complete items 4 and 5. Check the box if interest or other charges are                  An authorized signature on this proof of claim serves as an acknowledgment
    included in the claim.                                                                  that when calculating the amount of the claim, the creditor gave the debtor
                                                                                            credit for any payments received toward the debt.
2. Basis for Claim:
    State the type of debt or how it was incurred. Examples include                      7. Documents:
    goods sold, money loaned, services performed, personal                                  Attach to this proof of claim form redacted copies documenting the existence
    injury/wrongful death, car loan, mortgage note, and credit card. If the claim is        of the debt and of any lien securing the debt. You may also attach a summary.
    based on the delivery of health care goods or services, limit the disclosure of         You must also attach copies of documents that evidence perfection of any
    the goods or services so as to avoid embarrassment or the                               security interest. You may also attach a summary. FRBP 3001(c) and (d).
    disclosure of confidential health care information. You may be required                 If the claim is based on the delivery of health care goods or services, see
    to provide additional disclosure if the trustee or another party in interest            instruction 2. Do not send original documents, as attachments may be
    files an objection to your claim.                                                       destroyed after scanning.

3. Last Four Digits of Any Number by Which Creditor Identifies                                   Date and Signature:
   Debtor:                                                                                       The person filing this proof of claim must sign and date it. FRBP 9011. If the
   State only the last four digits of the debtor’s account or other number                       claim is filed electronically, FRBP 5005(a)(2), authorizes courts to establish
   used by the creditor to identify the debtor.                                                  local rules specifying what constitutes a signature. Print the name and title, if
                                                                                                 any, of the creditor or other person authorized to file this claim. State the
   3a. Debtor May Have Scheduled Account As:                                                     filer’s address and telephone number if it differs from the address given on the
   Use this space to report a change in the creditor’s name, a transferred                        top of the form for purposes of receiving notices. Attach a complete copy of
   claim, or any other information that clarifies a difference between this                      any power of attorney. Criminal penalties apply for making a false statement
   proof of claim and the claim as scheduled by the debtor.                                      on a proof of claim.


                                        __________DEFINITIONS__________                                                                 ______INFORMATION______

Debtor                                                        A lien may be voluntarily granted by a debtor or may be       Acknowledgment of Filing of Claim
A debtor is the person, corporation, or other entity that     obtained through a court proceeding. In some states, a        To receive acknowledgment of your filing, you may
has filed a bankruptcy case.                                  court judgment is a lien. A claim also may be secured if      either enclose a stamped self-addressed envelope and a
                                                              the creditor owes the debtor money (has a right to setoff).   copy of this proof of claim or you may access the court’s
Creditor                                                                                                                    PACER system (www.pacer.psc.uscourts.gov) for a
A creditor is a person, corporation, or other entity owed a   Unsecured Claim                                               small fee to view your filed proof of claim.
debt by the debtor that arose on or before the date of the    An unsecured claim is one that does not meet the
bankruptcy filing. See 11 U.S.C. §101 (10)                    requirements of a secured claim. A claim may be partly        Offers to Purchase a Claim
                                                              unsecured if the amount of the claim exceeds the value        Certain entities are in the business of purchasing claims
Claim                                                         of the property on which the creditor has a lien.             for an amount less than the face value of the claims. One
A claim is the creditor’s right to receive payment on a                                                                     or more of these entities may contact the creditor and
debt owed by the debtor that arose on the date of the         Claim Entitled to Priority Under 11 U.S.C. §507(a)            offer to purchase the claim. Some of the written
bankruptcy filing. See 11 U.S.C. §101 (5). A claim may        Priority claims are certain categories of unsecured claims    communications from these entities may easily be
be secured or unsecured.                                      that are paid from the available money or property in a       confused with official court documentation or
                                                              bankruptcy case before other unsecured claims.                communications from the debtor. These entities do not
Proof of Claim                                                                                                              represent the bankruptcy court or the debtor. The
A proof of claim is a form used by the creditor to            Redacted                                                      creditor has no obligation to sell its claim. However, if
indicate the amount of the debt owed by the debtor on         A document has been redacted when the person filing it        the creditor decides to sell its claim, any transfer of such
the date of the bankruptcy filing. The creditor must file     has masked, edited out, or otherwise deleted, certain         claim is subject to FRBP 3001(e), any applicable
the form with the clerk of the same bankruptcy court in       information. A creditor should redact and use only the        provisions of the Bankruptcy Code (11 U.S.C. § 101 et
which the bankruptcy case was filed.                          last four digits of any social-security, individual’s tax-    seq.), and any applicable orders of the bankruptcy court.
                                                              identification, or financial-account number, all but the
Secured Claim Under 11 U.S.C. §506(a)                         initials of a minor’s name and only the year of any
A secured claim is one backed by a lien on property of        person’s date of birth.
the debtor. The claim is secured so long as the creditor
has the right to be paid from the property prior to other     Evidence of Perfection
creditors. The amount of the secured claim cannot             Evidence of perfection may include a mortgage, lien,
exceed the value of the property. Any amount owed to          certificate of title, financing statement, or other
the creditor in excess of the value of the property is an     document showing that the lien has been filed or
unsecured claim. Examples of liens on property include        recorded.
a mortgage on real estate or a security interest in a car.
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                                    EXHIBIT C

                              Form of Bar Date Notice




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------------------------------------x
                                                                   :
In re:                                                             :   Chapter 11
                                                                   :
TRONOX INCORPORATED, et al.,                                       :   Case No. 09-10156 (ALG)
                                                                   :
                  Debtors.                                         :   (Jointly Administered)
                                                                   :
-------------------------------------------------------------------x
       NOTICE OF AUGUST 12, 2009 DEADLINE FOR FILING PROOFS OF CLAIM

TO: ALL PERSONS AND ENTITIES WHO MAY HAVE CLAIMS AGAINST TRONOX
    INCORPORATED OR ITS AFFILIATED DEBTORS.

PLEASE TAKE NOTICE that, on January 12, 2009, Tronox Incorporated and 14 of its
affiliates filed voluntary petitions for relief under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of New
York (the “Court”). A list of the Debtors may be found on page 3 of this notice.

PLEASE TAKE FURTHER NOTICE that, on May __, 2009, the Court entered an order
establishing August 12, 2009 at 8:00 p.m. (Eastern Time) as the last date (the “Bar Date”) for
any person or entity (including individuals, corporations, partnerships, trusts, and governmental
units) to file a proof of claim (a “Proof of Claim”). The Bar Date and the procedures for filing a
Proof of Claim apply to all Claims (as defined in section 101(5) of the Bankruptcy Code) against
a Debtor that arose prior to January 12, 2009, except as specifically excluded below.

YOU ARE RECEIVING THIS NOTICE because you may have a Claim against one or more
of the Debtors. However, the fact that you are receiving this notice does not mean that you do
have a Claim against a Debtor or that the Debtors believe that you have such a Claim.

PURSUANT TO THE BAR DATE ORDER ENTERED BY THE COURT:

     •     THE DEADLINE TO FILE A PROOF OF CLAIM IN THESE CASES IS
           AUGUST 12, 2009 AT 8:00 P.M. (EASTERN TIME).

     •     IF YOU ARE REQUIRED TO FILE A PROOF OF CLAIM BY THE BAR
           DATE BUT FAIL TO DO SO, YOUR CLAIM WILL BE FOREVER
           BARRED. THIS MEANS THAT YOU WILL NOT BE ELIGIBLE TO
           VOTE ON ANY CHAPTER 11 PLAN OR RECEIVE ANY DISTRIBUTION
           FROM THE DEBTORS ON ACCOUNT OF YOUR CLAIM.

THIS NOTICE CONTAINS INFORMATION REGARDING (1) HOW TO DETERMINE
IF YOU MUST FILE A PROOF OF CLAIM AND, IF YOU ARE REQUIRED TO DO SO,
(2) HOW TO FILE A PROOF OF CLAIM.


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I.         WHO MUST FILE A PROOF OF CLAIM

You MUST file a Proof of Claim if you have a Claim1 against any of the Debtors that arose
before January 12, 2009, except for the types of Claims listed below. Acts or omissions that
occurred before January 12, 2009 may give rise to Claims that are subject to the Bar Date, even
if the Claims may not have become known or fixed or liquidated until after January 12, 2009.

       The Debtors were “spun off” from Kerr-McGee Corporation in 2006. As a result of the
spin-off, it is possible that you may have a Claim against the Debtors that is related to Kerr-
McGee Corporation’s operations prior to March 2006.

II.        WHAT TO FILE

           Enclosed with this notice is a form Proof of Claim for you to use.

        For your filed Proof of Claim to be valid, it must (a) be signed by you or your authorized
agent, (b) be written in the English language, (c) be denominated in lawful currency of the
United States, and (d) conform substantially with the enclosed Proof of Claim form or to Official
Form No. 10. In addition, you must attach to your Proof of Claim any documents on which your
Claim is based (if voluminous, you may instead attach a summary). You also must specifically
identify the Debtor against which you assert a Claim by name and case number (listed on page 3
of this notice). You should include all Claims against a particular Debtor in a single Proof of
Claim. If you have Claims against multiple Debtors, you must file a separate Proof of Claim
against each Debtor.

III.       WHEN AND WHERE TO FILE

       Proofs of Claim must be submitted so as to be actually received no later than 8:00 p.m.
(Eastern Time) on August 12, 2009 at the following address:

                Tronox Claims Processing Center
                c/o Kurtzman Carson Consultants LLC
                2335 Alaska Avenue
                El Segundo, CA 90245

PLEASE NOTE that your Proof of Claim must be delivered to the above address by first class
U.S. Mail (postage prepaid), in person, by courier service, or by overnight delivery.

A PROOF OF CLAIM THAT IS SENT BY FACSIMILE OR E-MAIL WILL NOT BE
ACCEPTED.


1      Under section 101(5) of the Bankruptcy Code, the word “Claim” means: (a) a right to payment, whether or not
       such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,
       undisputed, legal, equitable, secured or unsecured; or (b) a right to an equitable remedy for breach of
       performance if such breach gives rise to a right to payment, whether or not such right to an equitable remedy is
       reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured or unsecured.



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IV.     A LIST OF THE DEBTORS AND CERTAIN RELATED INFORMATION

                                          CASE                PRIOR NAMES USED IN
                  DEBTOR
                                         NUMBER             THE LAST 6 YEARS (IF ANY)
 Tronox Incorporated                     09-10156     New-Co Chemical, Inc.
                                         09-10155     Kerr-McGee Chemical (Luxembourg)
 Tronox Luxembourg S.ar.l.                            S.A.R.L;
                                                      Kerr-McGee Luxembourg S.a.r.l.
 Cimarron Corporation                    09-10157
 Southwestern Refining Company, Inc.     09-10158     Southwestern Oil & Refining Company
 Transworld Drilling Company             09-10159
 Triangle Refineries, Inc.               09-10160
 Triple S Environmental Management       09-10161     Edgebrook Development Corp.; Kerr-McGee
 Corporation                                          Environmental Management Corp.
 Triple S Mineral Resources              09-10162     Kerr-McGee Minerals Resources Corporation
 Corporation
 Triple S Refining Corporation           09-10163     Kerr-McGee Refining Corporation
 Triple S, Inc.                          09-10164
 Tronox Finance Corp.                    09-10165
                                         09-10166     Kemira Holdings Inc.-2000;
 Tronox Holdings, Inc.
                                                      Kerr-McGee Holdings Inc.-2006
 Tronox LLC                              09-10167     Kerr-McGee Chemical LLC
                                         09-10168     Kemira Pigments, Inc.; Kerr-McGee Pigments
 Tronox Pigment (Savannah) Inc.
                                                      (Savannah), Inc.
 Tronox Worldwide LLC                    09-10169     Kerr-McGee Chemical Worldwide LLC

V.      WHO NEED NOT FILE A PROOF OF CLAIM

You DO NOT need to file a Proof of Claim for the following types of Claims:

        A.    Any Claim for which a Proof of Claim already has been filed with the Clerk of
              the Court in a form substantially similar to Official Bankruptcy Form No. 10;
        B.    Any Claim that was listed in the Debtors’ schedules of assets and liabilities and
              statements of financial affairs, which were filed on March 30, 2009 (the
              “Schedules”); however, if (i) the Schedules list your Claim as “contingent,”
              “unliquidated” or “disputed,” (ii) you dispute the Schedules’ description of the
              amount, nature and classification of your Claim, or (iii) you dispute that your
              Claim is an obligation of the specific Debtor that is identified in the Schedules,
              then you MUST submit a Proof of Claim by the Bar Date;



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       C.    Any Claim that has been allowed pursuant to an order of the Court that was
             entered prior to May __, 2009 at TIME p.m. (Eastern Time);
       D.    Any Claim against a Debtor that has been paid in full by any of the Debtors or
             any other party;
       E.    Any Claim that is subject to specific deadlines other than the Bar Date fixed by
             the Court;
       F.    Any Claim held by a Debtor in these Chapter 11 Cases;
       G.    Any Claim held by a current employee of the Debtors for Wages and Benefits
             (as defined in the order of the Court entered on February 6, 2009 [Dkt. No. 143]
             authorizing the Debtors to honor Claims for Employee Wages and Benefits);
       H.    Any Claim that is limited exclusively to the repayment of principal, interest
             and/or other applicable fees and charges (“Debt Claim”) owed under any bond
             or note issued by the Debtors pursuant to an indenture (a “Debt Instrument”);
             however, (i) an indenture trustee under a Debt Instrument (the “Indenture
             Trustee”) MUST file one Proof of Claim by the Bar Date with respect to all of
             the amounts owed under each of the Debt Instruments and (ii), if you are the
             holder of a Debt Claim and wish to assert a Claim, other than a Debt Claim,
             arising out of or relating to a Debt Instrument, you MUST submit a Proof of
             Claim by the Bar Date;
       I.    Any Claim that is based on an interest in an equity security of the Debtors;
             however, that if you wish to assert a Claim against any of the Debtors based on,
             without limitation, Claims for damages or rescission based on the purchase or
             sale of an equity security, you MUST submit a Proof of Claim by the Bar Date.
             The Debtors reserve all rights with respect to any such Claims, including the
             right to assert that such Claims are subject to subordination pursuant to section
             510(b) of the Bankruptcy Code; and
       J.    Any Claim allowable under sections 503(b) and 507(a)(1) of the Bankruptcy
             Code as an administrative expense of the Debtors’ chapter 11 cases, with the
             exception of any Claim allowable under section 503(b)(9) of the Bankruptcy
             Code, which is subject to the Bar Date.

VI.    SPECIAL DEADLINES APPLY TO EXECUTORY CONTRACTS
       AND UNEXPIRED LEASES

        The Bankruptcy Code provides that the Debtors may, at any time before a plan of
reorganization is confirmed by the Court, choose to reject certain executory contracts or
unexpired leases. If your contract or lease is rejected, you may have a Claim resulting from that
rejection. If the Debtors reject your contract or lease after [DATE], you must file a Proof of
Claim for damages relating to the rejection of your contract or lease by the later of: (a) the Bar
Date; or (b) the date provided in the order authorizing the Debtor to reject (or notice of rejection
of) the contract or lease, or, if no date is provided in the order, thirty (30) days after the date the
order authorizing the rejection is entered.



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VII.     EXAMINATION OF SCHEDULES

        Your Claim may be listed in the Debtors’ Schedules. To determine if and how you are
listed on the Schedules, please refer to the descriptions set forth on the enclosed Proof of Claim
Forms regarding the nature, amount and status of your Claim(s). If the Debtors believe that you
hold Claims against multiple Debtors, you will receive a Proof of Claim Form for each Debtor.

        If you rely on the Debtors’ Schedules, it is your responsibility to determine that the Claim
is accurately listed in the Schedules; however, you may rely on the information in the enclosed
Proof of Claim Form. If you agree with the nature, amount and status of your Claim and the
Debtor against whom your Claim is scheduled, and if your Claim is not described as “disputed,”
“contingent” or “unliquidated,” then you do not need to file a Proof of Claim.

       The Debtors’ Schedules may be examined and inspected by interested parties during
regular business hours at any of (a) the offices of Kirkland & Ellis LLP, 153 East 53rd Street,
New York, New York 10022 or (b) the Clerk of the Court, United States Bankruptcy Court,
Southern District of New York, One Bowling Green, Room 511, New York, New York 10004-
1408, Monday through Friday, 9:00 a.m.-4:30 p.m. The Debtors’ Schedules and the Bar Date
Order also are available online at www.kccllc.net/tronox. All documents filed in the cases are
accessible at the Court’s internet site: https://ecf.nysb.uscourts.gov through an account obtained
from the PACER website at http://pacer.psc.uscourts.gov.

       If the Debtors later amend their Schedules, the Debtors will notify all holders of the
Claims that are affected by the amendment. Those holders will have an opportunity to file
Proofs of Claim before a new deadline that will be specified in that future notice.

VIII. ACCESS TO PROOF OF CLAIM FORMS AND OTHER QUESTIONS

       Additional information regarding the Bar Date, including Proof of Claim Forms and a
copy of the Bar Date Order, may be obtained by contacting the Debtors’ noticing and claims
agent, Kurtzman Carson Consultants LLC, at 2335 Alaska Ave., El Segundo, California 90245,
Telephone: (866) 381-9100. Proof of Claim Forms also may be obtained at Kurzman Carson
Consultants’ website at www.kccllc.net/tronox or at the Court’s website at
www.uscourts.gov/bankform.

       Kurtzman Carson Consultants LLC cannot advise you how to, or whether you should, file
a Proof of Claim. If you have additional questions that are not covered by this notice, you should
consult an attorney to determine your rights and obligations.

Dated:    [INSERT DATE]                                  BY ORDER OF THE COURT
          New York, New York

KIRKLAND & ELLIS LLP
153 East 53rd Street
New York, New York 10022

Attorneys for the Debtors and Debtors in Possession

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                                        EXHIBIT D

                             Form of General Publication Notice




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------------------------------------x
                                                                   :
In re:                                                             :   Chapter 11
                                                                   :
TRONOX INCORPORATED, et al.,                                       :   Case No. 09-10156 (ALG)
                                                                   :
                  Debtors.                                         :   (Jointly Administered)
                                                                   :
-------------------------------------------------------------------x
          NOTICE OF AUGUST 12, 2009 DEADLINE FOR FILING PROOFS OF CLAIM

TO: ALL PERSONS AND ENTITIES WHO MAY HAVE CLAIMS AGAINST TRONOX
    INCORPORATED OR ITS AFFILIATED DEBTORS.

PLEASE TAKE NOTICE that, on January 12, 2009, Tronox Incorporated and 14 of its affiliates
filed voluntary petitions for relief under chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of New York
(the “Court”). The Debtors are listed below.

PLEASE TAKE FURTHER NOTICE that, on May __, 2009, the Court entered an order
establishing August 12, 2009 at 8:00 p.m. (Eastern Time) as the last date (the “Bar Date”) for any
person or entity (including individuals, corporations, partnerships, trusts, and governmental units) to
file a proof of claim (a “Proof of Claim”). The Bar Date and the procedures for filing a Proof of
Claim apply to all Claims (as defined in section 101(5) of the Bankruptcy Code) against a Debtor
that arose prior to January 12, 2009, except as specifically excluded below.

PURSUANT TO THE BAR DATE ORDER ENTERED BY THE COURT:

     •     THE DEADLINE TO FILE A PROOF OF CLAIM IN THESE CASES IS
           AUGUST 12, 2009 AT 8:00 P.M. (EASTERN TIME).

     •     IF YOU ARE REQUIRED TO FILE A PROOF OF CLAIM BY THE BAR
           DATE BUT FAIL TO DO SO, YOUR CLAIM WILL BE FOREVER
           BARRED. THIS MEANS THAT YOU WILL NOT BE ELIGIBLE TO VOTE
           ON ANY CHAPTER 11 PLAN OR RECEIVE ANY DISTRIBUTION FROM
           THE DEBTORS ON ACCOUNT OF YOUR CLAIM.

THIS NOTICE CONTAINS INFORMATION REGARDING (1) HOW TO DETERMINE IF
YOU MUST FILE A PROOF OF CLAIM AND, IF YOU ARE REQUIRED TO DO SO, (2)
HOW TO FILE A PROOF OF CLAIM.

I.         WHO MUST FILE A PROOF OF CLAIM

You MUST file a Proof of Claim if you have a Claim against any of the Debtors that arose before
January 12, 2009, except for the types of Claims listed below. Acts or omissions that occurred


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before January 12, 2009 may give rise to Claims that are subject to the Bar Date, even if the Claims
may not have become known or fixed or liquidated until after January 12, 2009.

       The Debtors were “spun off” from Kerr-McGee Corporation in 2006. As a result of the
spin-off, it is possible that you may have a Claim against the Debtors that is related to Kerr-McGee
Corporation’s operations prior to March 2006.

        Under section 101(5) of the Bankruptcy Code, the word “Claim” means: (a) a right to
payment, whether or not such right is reduced to judgment, liquidated, unliquidated, fixed,
contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured or unsecured; or (b)
a right to an equitable remedy for breach of performance if such breach gives rise to a right to
payment, whether or not such right to an equitable remedy is reduced to judgment, fixed,
contingent, matured, unmatured, disputed, undisputed, secured or unsecured.

II.    WHAT TO FILE

        For your Proof of Claim to be valid, it must (a) be signed by you or your authorized agent,
(b) be written in the English language, (c) be denominated in lawful currency of the United States,
and (d) conform substantially with Official Form No. 10. In addition, you must attach to your Proof
of Claim any documents on which your Claim is based (if voluminous, you may instead attach a
summary). You must specifically identify the Debtor against which you assert a Claim by name
and case number. You should include all Claims against a particular Debtor in a single Proof of
Claim. If you have Claims against multiple Debtors, you must file a separate Proof of Claim
against each Debtor. You may obtain a Proof of Claim form from any bankruptcy court clerk’s
office, from your lawyer, by going to www.uscourts.gov/bankform or www.kccllc.net/tronox, or by
calling (866) 381-9100.

III.   WHEN AND WHERE TO FILE

       Proofs of Claim must be submitted so as to be actually received no later than 8:00 p.m.
(Eastern Time) on August 12, 2009 at:

           Tronox Claims Processing Center
           c/o Kurtzman Carson Consultants LLC
           2335 Alaska Avenue
           El Segundo, CA 90245

PLEASE NOTE that your Proof of Claim must be delivered to the above address by first class U.S.
Mail (postage prepaid), in person, by courier service, or by overnight delivery.

A PROOF OF CLAIM THAT IS SENT BY FACSIMILE OR E-MAIL WILL NOT BE
ACCEPTED.

IV.    A LIST OF THE DEBTORS AND CERTAIN RELATED INFORMATION

                                        CASE                  PRIOR NAMES USED IN
              DEBTOR
                                       NUMBER               THE LAST 6 YEARS (IF ANY)
 Tronox Incorporated                    09-10156       New-Co Chemical, Inc.

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                                         09-10155       Kerr-McGee Chemical (Luxembourg)
 Tronox Luxembourg S.ar.l.                              S.A.R.L;
                                                        Kerr-McGee Luxembourg S.a.r.l.
 Cimarron Corporation                    09-10157
 Southwestern Refining Company, Inc.     09-10158       Southwestern Oil & Refining Company
 Transworld Drilling Company             09-10159
 Triangle Refineries, Inc.               09-10160
 Triple S Environmental Management       09-10161       Edgebrook Development Corp.; Kerr-McGee
 Corporation                                            Environmental Management Corp.
 Triple S Mineral Resources              09-10162       Kerr-McGee Minerals Resources Corporation
 Corporation
 Triple S Refining Corporation           09-10163       Kerr-McGee Refining Corporation
 Triple S, Inc.                          09-10164
 Tronox Finance Corp.                    09-10165
                                         09-10166       Kemira Holdings Inc.-2000;
 Tronox Holdings, Inc.
                                                        Kerr-McGee Holdings Inc.-2006
 Tronox LLC                              09-10167       Kerr-McGee Chemical LLC
                                         09-10168       Kemira Pigments, Inc.; Kerr-McGee Pigments
 Tronox Pigment (Savannah) Inc.
                                                        (Savannah), Inc.
 Tronox Worldwide LLC                    09-10169       Kerr-McGee Chemical Worldwide LLC

V.      WHO NEED NOT FILE A PROOF OF CLAIM

You DO NOT need to file a Proof of Claim for the following types of Claims:

        A.    Any Claim for which a Proof of Claim already has been filed with the Clerk of the
              Court in a form substantially similar to Official Bankruptcy Form No. 10;
        B.    Any Claim that was listed in the Debtors’ schedules of assets and liabilities and
              statements of financial affairs, which were filed on March 30, 2009 (the
              “Schedules”); however, if (i) the Schedules list your Claim as “contingent,”
              “unliquidated” or “disputed,” (ii) you dispute the Schedules’ description of the
              amount, nature and classification of your Claim, or (iii) you dispute that your
              Claim is an obligation of the specific Debtor that is identified in the Schedules,
              then you MUST submit a Proof of Claim by the Bar Date;
        C.    Any Claim that has been allowed pursuant to an order of the Court that was entered
              prior to May __, 2009 at TIME p.m. (Eastern Time);
        D.    Any Claim against a Debtor that has been paid in full by any of the Debtors or any
              other party;
        E.    Any Claim that is subject to specific deadlines other than the Bar Date fixed by the
              Court;
        F.    Any Claim held by a Debtor in these Chapter 11 Cases;
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       G.    Any Claim held by a current employee of the Debtors for Wages and Benefits (as
             defined in the order of the Court entered on February 6, 2009 [Dkt. No. 143]
             authorizing the Debtors to honor Claims for Employee Wages and Benefits);
       H.    Any Claim that is limited exclusively to the repayment of principal, interest and/or
             other applicable fees and charges (“Debt Claim”) owed under any bond or note
             issued by the Debtors pursuant to an indenture (a “Debt Instrument”); however,
             (i) an indenture trustee under a Debt Instrument (the “Indenture Trustee”) MUST
             file one Proof of Claim by the Bar Date with respect to all of the amounts owed
             under each of the Debt Instruments and (ii), if you are the holder of a Debt Claim
             and wish to assert a Claim, other than a Debt Claim, arising out of or relating to a
             Debt Instrument, you MUST submit a Proof of Claim by the Bar Date;
       I.    Any Claim that is based on an interest in an equity security of the Debtors;
             however, that if you wish to assert a Claim against any of the Debtors based on,
             without limitation, Claims for damages or rescission based on the purchase or sale
             of an equity security, you MUST submit a Proof of Claim by the Bar Date. The
             Debtors reserve all rights with respect to any such Claims, including the right to
             assert that such Claims are subject to subordination pursuant to section 510(b) of
             the Bankruptcy Code; and
       J.    Any Claim allowable under sections 503(b) and 507(a)(1) of the Bankruptcy Code
             as an administrative expense of the Debtors’ chapter 11 cases, with the exception
             of any Claim allowable under section 503(b)(9) of the Bankruptcy Code, which is
             subject to the Bar Date.

VI.    SPECIAL DEADLINES APPLY TO EXECUTORY CONTRACTS
       AND UNEXPIRED LEASES

        The Debtors may choose to reject certain executory contracts or unexpired leases. If your
contract or lease is rejected, you may have a Claim resulting from that rejection. If the Debtors
reject your contract or lease after [DATE], you must file a Proof of Claim for damages relating to
the rejection of your contract or lease by the later of: (a) the Bar Date; or (b) the date provided in the
order authorizing the Debtor to reject (or notice of rejection of) the contract or lease, or, if no date is
provided in the order, 30 days after the date the order authorizing the rejection is entered.

VII.   EXAMINATION OF SCHEDULES

       Your Claim may be listed in the Debtors’ Schedules. If you agree with the nature, amount
and status of your Claim and the Debtor against whom your Claim is scheduled as listed in the
Schedules, and if your Claim is not described as “disputed,” “contingent” or “unliquidated,” then
you do not need to file a Proof of Claim.

        The Debtors’ Schedules may be examined and inspected during regular business hours at (a)
the offices of Kirkland & Ellis LLP, 153 East 53rd Street, New York, New York 10022 or (b) the
Clerk of the Court, United States Bankruptcy Court, Southern District of New York, One Bowling
Green, Room 511, New York, New York 10004-1408, Monday through Friday, 9:00 a.m.-4:30 p.m.
The Debtors’ Schedules also are available online at www.kccllc.net/tronox. All documents filed in
the cases are accessible at the Court’s internet site: https://ecf.nysb.uscourts.gov through an account

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obtained from the PACER website at http://pacer.psc.uscourts.gov. Creditors that wish to rely on
the Schedules are responsible for determining that their Claims are listed accurately on them.

VIII. ADDITIONAL INFORMATION

       Additional information regarding the Bar Date, including Proof of Claim Forms and a copy
of the Bar Date Order, may be obtained by contacting the Debtors’ noticing and claims agent,
Kurtzman Carson Consultants LLC, at 2335 Alaska Ave., El Segundo, California 90245,
Telephone: (866) 381-9100, at www.kccllc.net/tronox.

       If you have additional questions that are not covered by this notice, you should consult an
attorney to determine your rights and obligations.

Dated:   [INSERT DATE]                                 BY ORDER OF THE COURT
         New York, New York

KIRKLAND & ELLIS LLP
153 East 53rd Street
New York, New York 10022

Attorneys for the Debtors and Debtors in Possession




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                                     EXHIBIT E
                       Form of Site-Specific Publication Notices




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                                     (Henderson, Nevada)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is the Debtors’ specialty chemicals
manufacturing facility and nearby areas in Henderson, Nevada, at which perchlorate
contamination arising from past operations of the facility is alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Henderson site, and if that exposure directly or indirectly caused injury that
becomes apparent now or in the future, you may have a claim under various legal theories for
damages. Personal injury damages could relate to physical, emotional or other personal injuries
such as bodily injury, wrongful death, medical monitoring, survivorship or proximate,
consequential, general and special damages or punitive damages. Property-related damages
could relate to cost of removal, diminution of property value or economic loss, or proximate,
consequential, general and special damages or punitive damages. More information about the
definition of “claims” that must be filed before the August 12, 2009 deadline is included in the
legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Henderson site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.
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                                     (Manville, New Jersey)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is the Federal Creosote Superfund Site
located in the Borough of Manville, Somerset County, New Jersey. The United States
Environmental Protection Agency, the New Jersey Department of Environmental Protection and
others have alleged that, as a result of a wood-treating facility that was operated at the site until
the mid-1950s, creosote contamination exists or did exist at the site.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Manville site, and if that exposure directly or indirectly caused injury that becomes
apparent now or in the future, you may have a claim under various legal theories for damages.
Personal injury damages could relate to physical, emotional or other personal injuries such as
bodily injury, wrongful death, medical monitoring, survivorship or proximate, consequential,
general and special damages or punitive damages. Property-related damages could relate to cost
of removal, diminution of property value or economic loss, or proximate, consequential, general
and special damages or punitive damages. More information about the definition of “claims”
that must be filed before the August 12, 2009 deadline is included in the legal notice that appears
above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Manville site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                     (Soda Springs, Idaho)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is the Debtors’ manufacturing facility
and surrounding areas in Soda Springs, Idaho, at which heavy metals contamination, including
arsenic, manganese, molybdenum, vanadium, tributyl phosphate (TBP), and total petroleum
hydrocarbon (TPH) contamination, arising from past operations of the facility is alleged to exist
or to have existed. This site is listed on the United States Environmental Protection Agency’s
(“EPA”) National Priorities List.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Soda Springs site, and if that exposure directly or indirectly caused injury that
becomes apparent now or in the future, you may have a claim under various legal theories for
damages. Personal injury damages could relate to physical, emotional or other personal injuries
such as bodily injury, wrongful death, medical monitoring, survivorship or proximate,
consequential, general and special damages or punitive damages. Property-related damages
could relate to cost of removal, diminution of property value or economic loss, or proximate,
consequential, general and special damages or punitive damages. More information about the
definition of “claims” that must be filed before the August 12, 2009 deadline is included in the
legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Soda Springs site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                     (Savannah, Georgia)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is the Debtors’ manufacturing facility
and surrounding areas in Savannah, Georgia. Because of a municipal landfill which was
previously operated at the site, the Georgia Environmental Protection Division has listed the
landfill site on the Georgia Hazardous Site Inventory.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Savannah site, and if that exposure directly or indirectly caused injury that
becomes apparent now or in the future, you may have a claim under various legal theories for
damages. Personal injury damages could relate to physical, emotional or other personal injuries
such as bodily injury, wrongful death, medical monitoring, survivorship or proximate,
consequential, general and special damages or punitive damages. Property-related damages
could relate to cost of removal, diminution of property value or economic loss, or proximate,
consequential, general and special damages or punitive damages. More information about the
definition of “claims” that must be filed before the August 12, 2009 deadline is included in the
legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Savannah site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                      (Calhoun, Louisiana)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former gas plant and surrounding
areas in Calhoun, Louisiana, at which waste oil and liquid hydrocarbon contamination, including
benzene, toluene, lead and dissolved iron, arising from past operations of the facility is alleged to
exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Calhoun site, and if that exposure directly or indirectly caused injury that becomes
apparent now or in the future, you may have a claim under various legal theories for damages.
Personal injury damages could relate to physical, emotional or other personal injuries such as
bodily injury, wrongful death, medical monitoring, survivorship or proximate, consequential,
general and special damages or punitive damages. Property-related damages could relate to cost
of removal, diminution of property value or economic loss, or proximate, consequential, general
and special damages or punitive damages. More information about the definition of “claims”
that must be filed before the August 12, 2009 deadline is included in the legal notice that appears
above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Calhoun site, you MUST file a proof of claim form with the Bankruptcy Court
according to the legal instructions above by August 12, 2009 or you will forever lose your
rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                     (Cimarron, Oklahoma)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a nuclear fuels facility formerly
operated in Cimarron, Oklahoma, at which uranium contamination arising from past operations
of the nuclear facility is alleged to exist or to have previously existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Cimarron site, and if that exposure directly or indirectly caused injury that becomes
apparent now or in the future, you may have a claim under various legal theories for damages.
Personal injury damages could relate to physical, emotional or other personal injuries such as
bodily injury, wrongful death, medical monitoring, survivorship or proximate, consequential,
general and special damages or punitive damages. Property-related damages could relate to cost
of removal, diminution of property value or economic loss, or proximate, consequential, general
and special damages or punitive damages. More information about the definition of “claims”
that must be filed before the August 12, 2009 deadline is included in the legal notice that appears
above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Cimarron site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                    (Cleveland, Oklahoma)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is an oil refinery formerly operated in
Cleveland, Oklahoma, at which contamination from metals such as lead, aluminum, cadmium,
copper, and manganese; volatile organic compounds such as benzene, toluene, xylenes, acetone,
chloroform, and methylene chloride; and semi-volatile organic compounds such as naphthalene,
phenanthrene, and others is alleged to exist or to have previously existed as a result of former
operations at the refinery.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Cleveland site, and if that exposure directly or indirectly caused injury that
becomes apparent now or in the future, you may have a claim under various legal theories for
damages. Personal injury damages could relate to physical, emotional or other personal injuries
such as bodily injury, wrongful death, medical monitoring, survivorship or proximate,
consequential, general and special damages or punitive damages. Property-related damages
could relate to cost of removal, diminution of property value or economic loss, or proximate,
consequential, general and special damages or punitive damages. More information about the
definition of “claims” that must be filed before the August 12, 2009 deadline is included in the
legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Cleveland site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                    (Columbus, Mississippi)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a wood-treating facility in
Columbus, Mississippi and surrounding areas, at which creosote contamination arising from
operations at the wood-treating facility is alleged to exist or to have previously existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Columbus site, and if that exposure directly or indirectly caused injury that
becomes apparent now or in the future, you may have a claim under various legal theories for
damages. Personal injury damages could relate to physical, emotional or other personal injuries
such as bodily injury, wrongful death, medical monitoring, survivorship or proximate,
consequential, general and special damages or punitive damages. Property-related damages
could relate to cost of removal, diminution of property value or economic loss, or proximate,
consequential, general and special damages or punitive damages. More information about the
definition of “claims” that must be filed before the August 12, 2009 deadline is included in the
legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Columbus site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                     (Cushing, Oklahoma)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is an oil refinery and nuclear fuels
production plant formerly operated in Cushing, Oklahoma, at which residual uranium and
thorium, petroleum hydrocarbons, metals, and liquid petroleum hydrocarbons contamination
arising from past operations at the former refinery and nuclear facility is alleged to exist or to
have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Cushing site, and if that exposure directly or indirectly caused injury that becomes
apparent now or in the future, you may have a claim under various legal theories for damages.
Personal injury damages could relate to physical, emotional or other personal injuries such as
bodily injury, wrongful death, medical monitoring, survivorship or proximate, consequential,
general and special damages or punitive damages. Property-related damages could relate to cost
of removal, diminution of property value or economic loss, or proximate, consequential, general
and special damages or punitive damages. More information about the definition of “claims”
that must be filed before the August 12, 2009 deadline is included in the legal notice that appears
above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Cushing site, you MUST file a proof of claim form with the Bankruptcy Court
according to the legal instructions above by August 12, 2009 or you will forever lose your
rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                     (Jacksonville, Florida)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. These sites include a former pesticide and fertilizer
manufacturing operation and a petroleum terminal formerly operated in Jacksonville, Florida.
The pesticide and fertilizer manufacturing operation is a US EPA Superfund Alternative Site.
Various pesticides, volatile organic compounds, dioxins/furans, polychlorinated biphenyls
(PCBs), radionuclides and metals contamination arising from past operations at the pesticide and
fertilizer manufacturing operation is alleged to exist or to have existed at the site. In addition,
various oil, fuel, kerosene, and gasoline contamination arising from past operations at the
petroleum terminal is alleged to exist or to have existed at the site

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Jacksonville site, and if that exposure directly or indirectly caused injury that
becomes apparent now or in the future, you may have a claim under various legal theories for
damages. Personal injury damages could relate to physical, emotional or other personal injuries
such as bodily injury, wrongful death, medical monitoring, survivorship or proximate,
consequential, general and special damages or punitive damages. Property-related damages
could relate to cost of removal, diminution of property value or economic loss, or proximate,
consequential, general and special damages or punitive damages. More information about the
definition of “claims” that must be filed before the August 12, 2009 deadline is included in the
legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Jacksonville site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                    (Milwaukee, Wisconsin)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former wood-treating facility and
surrounding areas in Milwaukee, Wisconsin, at which creosote contamination arising from past
operations at the facility is alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Cleveland site, and if that exposure directly or indirectly caused injury that
becomes apparent now or in the future, you may have a claim under various legal theories for
damages. Personal injury damages could relate to physical, emotional or other personal injuries
such as bodily injury, wrongful death, medical monitoring, survivorship or proximate,
consequential, general and special damages or punitive damages. Property-related damages
could relate to cost of removal, diminution of property value or economic loss, or proximate,
consequential, general and special damages or punitive damages. More information about the
definition of “claims” that must be filed before the August 12, 2009 deadline is included in the
legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Cleveland site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                    (Edwardsville, Illinois)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former wood-treating facility in
Edwardsville, Illinois, at which creosote contamination arising from past operations of the
facility may be alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Edwardsville site, and if that exposure directly or indirectly caused injury that
becomes apparent now or in the future, you may have a claim under various legal theories for
damages. Personal injury damages could relate to physical, emotional or other personal injuries
such as bodily injury, wrongful death, medical monitoring, survivorship or proximate,
consequential, general and special damages or punitive damages. Property-related damages
could relate to cost of removal, diminution of property value or economic loss, or proximate,
consequential, general and special damages or punitive damages. More information about the
definition of “claims” that must be filed before the August 12, 2009 deadline is included in the
legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Edwardsville site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                        (Marion, Illinois)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former wood-treating facility in
Marion, Illinois, at which creosote or other contamination arising from past operations of the
facility may be alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Marion site, and if that exposure directly or indirectly caused injury that becomes
apparent now or in the future, you may have a claim under various legal theories for damages.
Personal injury damages could relate to physical, emotional or other personal injuries such as
bodily injury, wrongful death, medical monitoring, survivorship or proximate, consequential,
general and special damages or punitive damages. Property-related damages could relate to cost
of removal, diminution of property value or economic loss, or proximate, consequential, general
and special damages or punitive damages. More information about the definition of “claims”
that must be filed before the August 12, 2009 deadline is included in the legal notice that appears
above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Marion site, you MUST file a proof of claim form with the Bankruptcy Court
according to the legal instructions above by August 12, 2009 or you will forever lose your
rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                   (Worthington, Kentucky)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former wood-treating facility in
Worthington, Kentucky, at which creosote or other contamination arising from past operations of
the facility may be alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Worthington site, and if that exposure directly or indirectly caused injury that
becomes apparent now or in the future, you may have a claim under various legal theories for
damages. Personal injury damages could relate to physical, emotional or other personal injuries
such as bodily injury, wrongful death, medical monitoring, survivorship or proximate,
consequential, general and special damages or punitive damages. Property-related damages
could relate to cost of removal, diminution of property value or economic loss, or proximate,
consequential, general and special damages or punitive damages. More information about the
definition of “claims” that must be filed before the August 12, 2009 deadline is included in the
legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Worthington site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                      (Bogalusa, Louisiana)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former wood-treating facility in
Bogalusa, Louisiana, at which creosote or other contamination arising from past operations of
the facility may be alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Bogalusa site, and if that exposure directly or indirectly caused injury that becomes
apparent now or in the future, you may have a claim under various legal theories for damages.
Personal injury damages could relate to physical, emotional or other personal injuries such as
bodily injury, wrongful death, medical monitoring, survivorship or proximate, consequential,
general and special damages or punitive damages. Property-related damages could relate to cost
of removal, diminution of property value or economic loss, or proximate, consequential, general
and special damages or punitive damages. More information about the definition of “claims”
that must be filed before the August 12, 2009 deadline is included in the legal notice that appears
above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Bogalusa site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                           (Constable Hook (Bayonne), New Jersey)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former wood-treating facility in
Bayonne, New Jersey, at which creosote or other contamination arising from past operations of
the facility may be alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Bayonne site, and if that exposure directly or indirectly caused injury that becomes
apparent now or in the future, you may have a claim under various legal theories for damages.
Personal injury damages could relate to physical, emotional or other personal injuries such as
bodily injury, wrongful death, medical monitoring, survivorship or proximate, consequential,
general and special damages or punitive damages. Property-related damages could relate to cost
of removal, diminution of property value or economic loss, or proximate, consequential, general
and special damages or punitive damages. More information about the definition of “claims”
that must be filed before the August 12, 2009 deadline is included in the legal notice that appears
above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Bayonne site, you MUST file a proof of claim form with the Bankruptcy Court
according to the legal instructions above by August 12, 2009 or you will forever lose your
rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                       (Rome, New York)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former wood-treating facility in
Rome, New York, at which creosote or other contamination arising from past operations of the
facility may be alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Rome site, and if that exposure directly or indirectly caused injury that becomes
apparent now or in the future, you may have a claim under various legal theories for damages.
Personal injury damages could relate to physical, emotional or other personal injuries such as
bodily injury, wrongful death, medical monitoring, survivorship or proximate, consequential,
general and special damages or punitive damages. Property-related damages could relate to cost
of removal, diminution of property value or economic loss, or proximate, consequential, general
and special damages or punitive damages. More information about the definition of “claims”
that must be filed before the August 12, 2009 deadline is included in the legal notice that appears
above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Rome site, you MUST file a proof of claim form with the Bankruptcy Court
according to the legal instructions above by August 12, 2009 or you will forever lose your
rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                    (Aiken, South Carolina)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a farm center previously operated in
Aiken, South Carolina, at which various pesticides, fertilizers, volatile organic compounds and
other related chemicals contamination arising from past operations of the center may be alleged
to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Aiken site, and if that exposure directly or indirectly caused injury that becomes
apparent now or in the future, you may have a claim under various legal theories for damages.
Personal injury damages could relate to physical, emotional or other personal injuries such as
bodily injury, wrongful death, medical monitoring, survivorship or proximate, consequential,
general and special damages or punitive damages. Property-related damages could relate to cost
of removal, diminution of property value or economic loss, or proximate, consequential, general
and special damages or punitive damages. More information about the definition of “claims”
that must be filed before the August 12, 2009 deadline is included in the legal notice that appears
above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Aiken site, you MUST file a proof of claim form with the Bankruptcy Court
according to the legal instructions above by August 12, 2009 or you will forever lose your
rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                     (Cartersville, Georgia)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a farm center previously operated in
Cartersville, Georgia, at which various pesticides, fertilizers, volatile organic compounds and
other related chemicals contamination arising from past operations of the center may be alleged
to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Cartersville site, and if that exposure directly or indirectly caused injury that
becomes apparent now or in the future, you may have a claim under various legal theories for
damages. Personal injury damages could relate to physical, emotional or other personal injuries
such as bodily injury, wrongful death, medical monitoring, survivorship or proximate,
consequential, general and special damages or punitive damages. Property-related damages
could relate to cost of removal, diminution of property value or economic loss, or proximate,
consequential, general and special damages or punitive damages. More information about the
definition of “claims” that must be filed before the August 12, 2009 deadline is included in the
legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Cartersville site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                  (Davidson, North Carolina)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a farm center previously operated in
Davidson, North Carolina, at which various pesticides, fertilizers, volatile organic compounds
and other related chemicals contamination arising from past operations of the center may be
alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Davidson site, and if that exposure directly or indirectly caused injury that becomes
apparent now or in the future, you may have a claim under various legal theories for damages.
Personal injury damages could relate to physical, emotional or other personal injuries such as
bodily injury, wrongful death, medical monitoring, survivorship or proximate, consequential,
general and special damages or punitive damages. Property-related damages could relate to cost
of removal, diminution of property value or economic loss, or proximate, consequential, general
and special damages or punitive damages. More information about the definition of “claims”
that must be filed before the August 12, 2009 deadline is included in the legal notice that appears
above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Davidson site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                       (Hugo, Oklahoma)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former wood-treating facility in
Hugo, Oklahoma, at which creosote or other contamination arising from past operations of the
facility may be alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Hugo site, and if that exposure directly or indirectly caused injury that becomes
apparent now or in the future, you may have a claim under various legal theories for damages.
Personal injury damages could relate to physical, emotional or other personal injuries such as
bodily injury, wrongful death, medical monitoring, survivorship or proximate, consequential,
general and special damages or punitive damages. Property-related damages could relate to cost
of removal, diminution of property value or economic loss, or proximate, consequential, general
and special damages or punitive damages. More information about the definition of “claims”
that must be filed before the August 12, 2009 deadline is included in the legal notice that appears
above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Hugo site, you MUST file a proof of claim form with the Bankruptcy Court
according to the legal instructions above by August 12, 2009 or you will forever lose your
rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                            (Jackson and Hattiesburg, Mississippi)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. Two of these sites are former wood-treating facilities
located in Jackson and Hattiesburg, Mississippi, at which creosote contamination arising from
past operations of the facilities is alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Jackson and/or Hattiesburg sites, and if that exposure directly or indirectly caused
injury that becomes apparent now or in the future, you may have a claim under various legal
theories for damages. Personal injury damages could relate to physical, emotional or other
personal injuries such as bodily injury, wrongful death, medical monitoring, survivorship or
proximate, consequential, general and special damages or punitive damages. Property-related
damages could relate to cost of removal, diminution of property value or economic loss, or
proximate, consequential, general and special damages or punitive damages. More information
about the definition of “claims” that must be filed before the August 12, 2009 deadline is
included in the legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Jackson and/or Hattiesburg sites, you MUST file a proof of claim form with
the Bankruptcy Court according to the legal instructions above by August 12, 2009 or you will
forever lose your rights to recover on your claim in the future. Filing a proof of claim form
does not automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                               (Mobile and Theodore, Alabama)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former synthetic rutile facility in
Mobile and Theodore, Alabama, at which arsenic, mercury, copper, selenium, thallium and
related contamination arising from past operations of the facility may be alleged to exist or to
have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Mobile site, and if that exposure directly or indirectly caused injury that becomes
apparent now or in the future, you may have a claim under various legal theories for damages.
Personal injury damages could relate to physical, emotional or other personal injuries such as
bodily injury, wrongful death, medical monitoring, survivorship or proximate, consequential,
general and special damages or punitive damages. Property-related damages could relate to cost
of removal, diminution of property value or economic loss, or proximate, consequential, general
and special damages or punitive damages. More information about the definition of “claims”
that must be filed before the August 12, 2009 deadline is included in the legal notice that appears
above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Mobile site, you MUST file a proof of claim form with the Bankruptcy Court
according to the legal instructions above by August 12, 2009 or you will forever lose your
rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                (Sauget and Madison, Illinois)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. Two of these sites are former wood-treating facilities
located in Sauget and Madison, Illinois, at which creosote or other contamination arising from
past operations of the facilities may be alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Sauget and/or Madison sites, and if that exposure directly or indirectly caused
injury that becomes apparent now or in the future, you may have a claim under various legal
theories for damages. Personal injury damages could relate to physical, emotional or other
personal injuries such as bodily injury, wrongful death, medical monitoring, survivorship or
proximate, consequential, general and special damages or punitive damages. Property-related
damages could relate to cost of removal, diminution of property value or economic loss, or
proximate, consequential, general and special damages or punitive damages. More information
about the definition of “claims” that must be filed before the August 12, 2009 deadline is
included in the legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Sauget and/or Madison sites, you MUST file a proof of claim form with the
Bankruptcy Court according to the legal instructions above by August 12, 2009 or you will
forever lose your rights to recover on your claim in the future. Filing a proof of claim form
does not automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                        (West Chicago and Winfield Township, Illinois)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is the Rare Earth Facility, a former
milling facility used to produce thorium and thorium compounds that was operated until the mid-
1970s in West Chicago, Illinois, and nearby areas. It is alleged that uranium, sulfate and other
contamination arising from past operations of the Rare Earth Facility exists or did exist at the site
and may have migrated to nearby areas. These nearby areas include, among others, the Kress
Creek/West Branch DuPage River Superfund Site, the nearby Reed-Keppler Superfund Site, and
the Sewage Treatment Plant Superfund Site (collectively with the Rare Earth Facility site, the
“West Chicago Sites”).

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the West Chicago sites, and if that exposure directly or indirectly caused injury that
becomes apparent now or in the future, you may have a claim under various legal theories for
damages. Personal injury damages could relate to physical, emotional or other personal injuries
such as bodily injury, wrongful death, medical monitoring, survivorship or proximate,
consequential, general and special damages or punitive damages. Property-related damages
could relate to cost of removal, diminution of property value or economic loss, or proximate,
consequential, general and special damages or punitive damages. More information about the
definition of “claims” that must be filed before the August 12, 2009 deadline is included in the
legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the West Chicago sites, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                      (Ambrosia Lake and Albuquerque, New Mexico)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a nuclear fuels facility formerly
operated in Ambrosia Lake, New Mexico, at which uranium, sulfate and other contamination
arising from past operations of the facility may be alleged exist. Another one of these sites is a
service station formerly operated in Albuquerque, New Mexico, at which xylenes (BTEX),
methyl tertiary butyl ether (MTBE), naphthalene and lead contamination may be alleged to exist
or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Ambrosia Lake and/or Albuquerque sites, and if that exposure directly or indirectly
caused injury that becomes apparent now or in the future, you may have a claim under various
legal theories for damages. Personal injury damages could relate to physical, emotional or other
personal injuries such as bodily injury, wrongful death, medical monitoring, survivorship or
proximate, consequential, general and special damages or punitive damages. Property-related
damages could relate to cost of removal, diminution of property value or economic loss, or
proximate, consequential, general and special damages or punitive damages. More information
about the definition of “claims” that must be filed before the August 12, 2009 deadline is
included in the legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Ambrosia Lake and/or Albuquerque sites, you MUST file a proof of claim
form with the Bankruptcy Court according to the legal instructions above by August 12, 2009 or
you will forever lose your rights to recover on your claim in the future. Filing a proof of
claim form does not automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                   (Birmingham, Alabama)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a petroleum and storage terminal
related to former operations of a petroleum terminal in Birmingham, Alabama, at which
dissolved petroleum hydrocarbons including benzene, toluene, ethylbenzene, xylenes (BTEX),
methyl tertiary butyl ether (MTBE), Polynuclear Aromatic Hydrocarbons (PAH), lead and
related contamination arising from past operations of the facility is alleged to exist or to have
existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Birmingham site, and if that exposure directly or indirectly caused injury that
becomes apparent now or in the future, you may have a claim under various legal theories for
damages. Personal injury damages could relate to physical, emotional or other personal injuries
such as bodily injury, wrongful death, medical monitoring, survivorship or proximate,
consequential, general and special damages or punitive damages. Property-related damages
could relate to cost of removal, diminution of property value or economic loss, or proximate,
consequential, general and special damages or punitive damages. More information about the
definition of “claims” that must be filed before the August 12, 2009 deadline is included in the
legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Birmingham site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                   (Los Angeles, California)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. Three of these sites are former chemical manufacturing
facilities located in Torrence, Vernon, Hobary and Culver City, California, at which various
pesticides, fertilizers, volatile organic compounds (VOCs), metals and other chemicals related
contamination arising from past operations of the facilities may be alleged to exist or to have
existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Torrence, Vernon, Hobart, and Culver City sites, and if that exposure directly or
indirectly caused injury that becomes apparent now or in the future, you may have a claim under
various legal theories for damages. Personal injury damages could relate to physical, emotional
or other personal injuries such as bodily injury, wrongful death, medical monitoring,
survivorship or proximate, consequential, general and special damages or punitive damages.
Property-related damages could relate to cost of removal, diminution of property value or
economic loss, or proximate, consequential, general and special damages or punitive damages.
More information about the definition of “claims” that must be filed before the August 12, 2009
deadline is included in the legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Torrence, Vernon, Hobart, and Culver City sites, you MUST file a proof of
claim form with the Bankruptcy Court according to the legal instructions above by August 12,
2009 or you will forever lose your rights to recover on your claim in the future. Filing a
proof of claim form does not automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                   (Bossier City, Louisiana)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former wood-treating facility in
Bossier City, Louisiana, at which creosote or other contamination arising from past operations of
the facility is alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Bossier City site, and if that exposure directly or indirectly caused injury that
becomes apparent now or in the future, you may have a claim under various legal theories for
damages. Personal injury damages could relate to physical, emotional or other personal injuries
such as bodily injury, wrongful death, medical monitoring, survivorship or proximate,
consequential, general and special damages or punitive damages. Property-related damages
could relate to cost of removal, diminution of property value or economic loss, or proximate,
consequential, general and special damages or punitive damages. More information about the
definition of “claims” that must be filed before the August 12, 2009 deadline is included in the
legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Bossier City site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                      (Texarkana, Texas)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former wood-treating facility in
Texarkana, Texas, at which creosote contamination arising from past operations of the facility is
alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Texarkana site, and if that exposure directly or indirectly caused injury that
becomes apparent now or in the future, you may have a claim under various legal theories for
damages. Personal injury damages could relate to physical, emotional or other personal injuries
such as bodily injury, wrongful death, medical monitoring, survivorship or proximate,
consequential, general and special damages or punitive damages. Property-related damages
could relate to cost of removal, diminution of property value or economic loss, or proximate,
consequential, general and special damages or punitive damages. More information about the
definition of “claims” that must be filed before the August 12, 2009 deadline is included in the
legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Texarkana site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                         (Toledo, Ohio)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former wood-treating facility in
Toledo, Ohio, at which creosote contamination arising from past operations of the facility is
alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Toledo site, and if that exposure directly or indirectly caused injury that becomes
apparent now or in the future, you may have a claim under various legal theories for damages.
Personal injury damages could relate to physical, emotional or other personal injuries such as
bodily injury, wrongful death, medical monitoring, survivorship or proximate, consequential,
general and special damages or punitive damages. Property-related damages could relate to cost
of removal, diminution of property value or economic loss, or proximate, consequential, general
and special damages or punitive damages. More information about the definition of “claims”
that must be filed before the August 12, 2009 deadline is included in the legal notice that appears
above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Toledo site, you MUST file a proof of claim form with the Bankruptcy Court
according to the legal instructions above by August 12, 2009 or you will forever lose your
rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                    (Bloomington, Indiana)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former wood-treating facility in
Bloomington, Indiana, at which creosote contamination arising from past operations of the
facility is alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Bloomington site, and if that exposure directly or indirectly caused injury that
becomes apparent now or in the future, you may have a claim under various legal theories for
damages. Personal injury damages could relate to physical, emotional or other personal injuries
such as bodily injury, wrongful death, medical monitoring, survivorship or proximate,
consequential, general and special damages or punitive damages. Property-related damages
could relate to cost of removal, diminution of property value or economic loss, or proximate,
consequential, general and special damages or punitive damages. More information about the
definition of “claims” that must be filed before the August 12, 2009 deadline is included in the
legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Bloomington site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                     (El Dorado, Arkansas)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former wood-treating facility in El
Dorado, Arkansas, at which creosote contamination arising from past operations of the facility is
alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the El Dorado site, and if that exposure directly or indirectly caused injury that
becomes apparent now or in the future, you may have a claim under various legal theories for
damages. Personal injury damages could relate to physical, emotional or other personal injuries
such as bodily injury, wrongful death, medical monitoring, survivorship or proximate,
consequential, general and special damages or punitive damages. Property-related damages
could relate to cost of removal, diminution of property value or economic loss, or proximate,
consequential, general and special damages or punitive damages. More information about the
definition of “claims” that must be filed before the August 12, 2009 deadline is included in the
legal notice that appears above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the El Dorado site, you MUST file a proof of claim form with the Bankruptcy
Court according to the legal instructions above by August 12, 2009 or you will forever lose
your rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                     (Avoca, Pennsylvania)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former wood-treating facility and
surrounding areas in Avoca, Pennsylvania, at which creosote contamination arising from past
operations at the facility is alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Avoca site, and if that exposure directly or indirectly caused injury that becomes
apparent now or in the future, you may have a claim under various legal theories for damages.
Personal injury damages could relate to physical, emotional or other personal injuries such as
bodily injury, wrongful death, medical monitoring, survivorship or proximate, consequential,
general and special damages or punitive damages. Property-related damages could relate to cost
of removal, diminution of property value or economic loss, or proximate, consequential, general
and special damages or punitive damages. More information about the definition of “claims”
that must be filed before the August 12, 2009 deadline is included in the legal notice that appears
above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Avoca site, you MUST file a proof of claim form with the Bankruptcy Court
according to the legal instructions above by August 12, 2009 or you will forever lose your
rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                                   (Hanover, Massachusetts)

Tronox Incorporated and certain of its affiliates (collectively, the “Debtors”) are required to
provide notice to parties who may have a claim against the Debtors related to exposure to
hazardous materials at particular sites. One of these sites is a former munitions plant in Hanover,
Massachusetts, at which heavy metals, arsenic and lead contamination arising from past
operations of the facility is alleged to exist or to have existed.

If you, your property, your spouse or an immediate family member was exposed to contaminants
at or near the Hanover site, and if that exposure directly or indirectly caused injury that becomes
apparent now or in the future, you may have a claim under various legal theories for damages.
Personal injury damages could relate to physical, emotional or other personal injuries such as
bodily injury, wrongful death, medical monitoring, survivorship or proximate, consequential,
general and special damages or punitive damages. Property-related damages could relate to cost
of removal, diminution of property value or economic loss, or proximate, consequential, general
and special damages or punitive damages. More information about the definition of “claims”
that must be filed before the August 12, 2009 deadline is included in the legal notice that appears
above.

If you believe that you may have a claim related to you or your property’s exposure to any
products, raw materials or contaminants that were produced, manufactured, supplied, used or
disposed of at the Hanover site, you MUST file a proof of claim form with the Bankruptcy Court
according to the legal instructions above by August 12, 2009 or you will forever lose your
rights to recover on your claim in the future. Filing a proof of claim form does not
automatically entitle you to compensation.

For more information about the filing process and/or to receive a proof of claim form, please call
(866) 381-9100 or visit www.kccllc.net/tronox.




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                   Publications for Site-Specific Publication Notices




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                 Location1           State             Local Publication                                   Est. Cost2
Birmingham, Alabama                  AL Birmingham News                                                      1,512.21
Mobile, Alabama                      AL Mobile Register                                                      5,456.53
El Dorado, Arkansas                  AR El Dorado News-Times                                                 1,013.52
Torrance, California                 CA Torrance Daily Breeze                                                1,126.31
Jacksonville, Florida                FL Jacksonville FL Times Union                                          2,564.57
Savannah, Georgia                    GA Savannah Morning News                                                1,814.94
Cartersville, Georgia                GA Cartersville Daily Tribune News                                         557.91
Soda Springs, Idaho                  ID    Caribou County Sun                                                   450.39
Edwardsville, Illinois               IL    Edwardsville Intelligencer                                           602.15
Marion, Illinois                     IL    Marion Daily Republican                                              670.77
West Chicago & Winfield Township, IL IL    Chicago Tribune                                                  13,146.59
Sauget and Madison, Illinois         IL    St. Louis Post-Dispatch                                           9,210.76
Bloomington, Indiana                 IN    Bloomington Herald-Times                                          1,521.70
Worthington, Kentucky                KY Ashland Independent                                                  1,082.43
Bogalusa, Louisiana                  LA Bogalusa Daily News                                                     402.74
Bossier City, Louisiana              LA Bossier Press-Tribune                                                   564.70
Calhoun, Louisiana                   LA Monroe News-Star                                                     2,268.19
Calhoun, Louisiana                   LA Ouachita Citizen                                                        444.52
Hanover, Massachusetts               MA Hanover Mariner                                                         845.64
                                           Jackson Clarion Ledger/
Jackson & Hattiesburg, Mississippi   MS Hattiesburg American                                                  5,821.38
Columbus, Mississippi                MS Columbus Commercial Dispatch                                            755.69
Davidson, North Carolina             NC Charlotte Observer                                                    5,284.70
Constable Hook (Bayonne), New Jersey NJ Jersey Journal                                                          466.02
Manville, New Jersey                 NJ Bridgewater Courier News                                                528.13
Manville, New Jersey                 NJ Manville News                                                           440.52
Ambrosia Lake & Albuquerque, NM      NM Albuquerque Daily Journal                                             3,788.52
Henderson, Nevada                    NV Las Vegas Review-Journal                                              1,214.86
Rome, New York                       NY Rome Daily Sentinel                                                     667.29
Toledo, Ohio                         OH Toledo Blade                                                          4,195.63
Hugo, Oklahoma                       OK Hugo Daily News                                                         506.09
Cimarron, Oklahoma                   OK Oklahoma City Oklahoman                                               7,446.95
Cushing, Oklahoma                    OK Cushing Daily Citizen                                                   515.88
Cleveland, Oklahoma                  OK Tulsa World                                                           2,502.56

1   This Exhibit lists the sites that Tronox has identified as appropriate for supplemental notice in the form of site-
    specific notices to be published in local publications. To the extent Tronox determines that it is appropriate to
    modify and/or supplement this list of locations, Tronox will provide the Court and appropriate parties with
    notice of any such alternation.
2   The estimated costs listed herein have been estimated based on a specific word count for each notice; actual
    costs may vary depending on the word count of the final published versions of the notices.
 09-50026-mg Doc
09-10156-alg  Doc  13025-8
                 399         Filed 12/16/14
                      Filed 05/05/09   EnteredEntered 12/16/14
                                                05/05/09       16:56:41
                                                         19:31:35        Exhibit 8
                                                                   Main Document
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                                       89 of 89



Cleveland, Oklahoma              OK   Cleveland American                     432.40
Avoca, Pennsylvania              PA   Scranton Times-Tribune               2,310.21
Aiken, South Carolina            SC   Aiken Standard                         622.75
Texarkana, Texas                 TX   Texarkana Gazette                    1,164.31
Milwaukee, Wisconsin             WI   Milwaukee Journal Sentinel           3,900.56

                                                                          87,821.03




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